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                                    EXPERT REPORT

             Opinion re “Expert Report of Peter A. Erickson” April 12, 2018
             Opinion re “Expert Report of Joseph E. Stiglitz” April 13, 2018



           Kelsey Cascadia Rose Juliana, et al. v. United States of America, et al.

                                Case No. 6:15-CV-01517-TC



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                                      Prepared for:
                          The United States Department of Justice



                                      August 13, 2018




_______________________________________________
David G. Victor
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 1   I.       INTRODUCTION
 2   This expert report is submitted in connection with the matter known as Kelsey Cascadia Rose
 3   Juliana; Xiuhtezcatl Tonatiuh M., through his Guardian Tamara Roske-Martinez; et al., v. The
 4   United States of America; Donald Trump, in his official capacity as President of the United
 5   States; et al., United States District Court, District of Oregon Case No. 6:15-cv-015-17-TC. I
 6   have been asked to assess claims made by Peter A. Erickson, regarding the U.S. share of GHG
 7   emissions, the feasibility of transitioning to a consumption-based accounting system, and
 8   impacts on emissions from potential reforms to federal fossil fuel subsidies and leases, as
 9   proffered by Mr. Erickson in his Expert Report, dated April 12, 2018. I also have been asked to
10   assess claims made by Joseph E. Stiglitz, regarding whether U.S. dependence on fossil fuels is an
11   inevitable consequence of history, and whether the U.S. can adopt meaningful policy
12   interventions to mitigate climate change without engaging with its international trading partners,
13   as proffered by Dr. Stiglitz in his Expert Report, dated April 13, 2018. The opinions contained
14   in this report are based on my professional knowledge, training, and experience. I reserve the
15   right to supplement this report as additional information is made available.
16
17   II.    QUALIFICATIONS
18
19   I am a professor at UC San Diego where I teach international relations, energy policy and energy
20   market design at the School of Global Policy and Strategy. I also am an adjunct Professor of
21   Climate, Atmospheric Science and Physical Oceanography at the Scripps Institution of
22   Oceanography. Formerly, I was a tenured full professor at Stanford Law School where I taught
23   industrial organization and also led the Stanford University Program on Energy and Sustainable
24   Development.
25
26   I am a nationally-recognized expert in energy and environmental policy, with more than thirty
27   years of experience. I am the author or co-author/editor of eight (8) books and approximately
28   200 articles. My work has been cited more than 14,000 times (per Google Scholar). My
29   curriculum vitae is included as Appendix A to this report, and a list of my publications from
30   2008 to the present is contained in Appendix B.
31
32   Since 1990, I have been actively involved in the Intergovernmental Panel on Climate Change
33   (IPCC), the United Nations’ body charged with periodically assessing the science of climate
34   change, including the science underpinning control of emissions that contribute to climate
35   change. In 2007, the IPCC won the Nobel Peace Prize for its work. I have been engaged in five
36   (5) IPCC assessments, performing various author, contributor and reviewer roles. In the most
37   recent IPCC assessment, concluded in 2014, I served as a convening lead author, the term the
38   IPCC uses for assessment members who have greatest responsibility for the report. I also
39   contributed to the two key summaries of the study—the “Summary for Policy Makers” and the
40   “Technical Summary.”
41
42   I have been Chairman and a member of the advisory board, as well as a member of the Board of
43   Directors, for the Electric Power Research Institute (EPRI). EPRI is a non-profit organization
44   established by US and global electric utilities for the purpose of conducting research on
45   advanced electric power technologies. I am a member of the Global Future Council for the
46   World Economic Forum, which convenes the annual industry leader event in Davos Switzerland.

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47   For four years, I have served as a member of the advisory board of the Institute of Nuclear Power
48   Operators (INPO), the organization established after Three Mile Island with the mission of
49   independent oversight of the safe operation of all U.S. nuclear reactors. I chair the San Onofre
50   Community Engagement Panel, which helps steward the safe closure and dismantlement of the
51   San Onofre nuclear reactor complex located south of Los Angeles.
52
53   My undergraduate degree is in History and Science (Harvard), and my Ph.D. is in Political
54   Science from the Massachusetts Institute of Technology (MIT).
55
56   I am a regular participant in academic, industry, and government studies on issues related to
57   energy sources and energy systems in the U.S. and abroad. Examples of my participation
58   include the Council on Foreign Relations Task Force regarding the national security
59   consequences of US dependency on oil imports—I served as task force member and Chief of
60   Staff with former Secretary of Defense Jim Schlesinger and former CIA Director John Deutch as
61   co-chairs. At Stanford, I convened studies on the globalization of the natural gas market, the
62   organization of the global oil industry, and the globalization of the coal market. I also served on
63   the advisory board of the MIT study “The Future of Natural Gas,” a major study looking at
64   developments in the US and overseas gas markets. Most recently, I served as a panel member on
65   the US National Research Council study on reliability and resilience of the U.S. power grid.
66
67   In addition to my work at UC San Diego, I am a nonresident senior fellow at the Brookings
68   Institution. I am the co-chair and co-founder of the cross-Brookings initiative on energy and
69   climate. The goal of this initiative is to rethink strategies for effective management of the
70   climate change problem, within the U.S. and globally.
71
72   III.   SUMMARY OVERVIEW
73
74   The plaintiffs in this case have put forth a series of claims regarding the role played by the U.S.
75   in global greenhouse gas (GHG) emissions, and potential pathways for addressing these
76   emissions going forward. In my expert opinion, several assertions made by Mr. Peter A.
77   Erickson in his Expert Report, dated April 12, 2018, are based on insufficient facts and data, and
78   the incorrect application of generally accepted methods. Specifically, there are five topic areas
79   discussed by Erickson in his Expert Report, upon which I believe his opinions cannot be
80   reasonably relied.
81
82   First, with respect to the U.S. share of global emissions, it is my expert opinion that the analyses
83   within Erickson’s Expert Report obscures the scope and complexity of policy interventions
84   needed to control emissions by improperly focusing only on energy-related combustion of fossil
85   fuels. A full accounting of GHGs and emissions controls indicates that a wide range of industrial
86   and agricultural activities and policies should be considered when deriving a total estimate of
87   emissions. By failing to consider the full range of activities and gases that contribute to climate
88   change, Erickson oversimplifies the scope of the actions necessary to decrease U.S. and global
89   GHG emissions. Further, Erickson’s own data, as well as the data I reference in this Expert
90   Report, indicate that the U.S. constitutes only a small portion of global emissions. Even if the
91   U.S. were to unilaterally eliminate all of its greenhouse gas emissions, 87 to 88% of global
92   emissions still would remain. The facts support that the U.S. is just one of many emitters; and, in
93   my view, action to limit climate change requires coordinated international action.

                                                      3
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 94   Second, with respect to claims regarding the use of consumption-based accounting methods for
 95   GHGs, it is my expert opinion that such methods are neither administratively, nor politically
 96   straightforward to implement quickly. Erickson oversimplifies the technical feasibility of the
 97   U.S. adopting a consumption-based inventory and accounting system. He also fails to articulate
 98   the length of time that will be needed to design and implement an accurate consumption-based
 99   accounting system. Importantly, Erickson fails to address a central challenge in implementing
100   such a system: border adjustments to bring emission control incentives for imported products in
101   line with products manufactured in the U.S. Further, Erickson’s Expert Report fails to note that
102   even if the U.S. were to shift to a consumption-based accounting system, such a shift would
103   increase the share of global emissions attributed to the U.S. by only about 1%. As I stated
104   previously, action to limit climate change requires coordinated international action, regardless of
105   the accounting method adopted by the U.S.
106
107   Third, with respect to U.S. federal energy subsidies, I believe that Erickson’s Expert Report is
108   misleading and provides insufficient basis to support his claims. Erickson suggests that U.S.
109   subsidization of energy is dominated by fossil fuels. I disagree. I estimate that: 1) federal fossil
110   fuel subsidies are a tiny fraction of total value of the fossil fuel energy industry, and therefore not
111   material to the industry’s operations; and 2) Erickson appears to cherry-pick data that focuses on
112   fossil energy subsidies, ignoring the substantial subsidies that exist for other elements of the
113   energy system, including efficiency and renewable energy.
114
115   On a straight-dollar basis, I find that subsidies for renewable energy exceed subsidies for fossil
116   energy by a factor of at least 2. Further, proportional to U.S. energy output, the tax-related
117   subsidy for renewables is more than 50 times the level of tax-related subsidies for fossil fuels.
118   When properly analyzed, the data indicate that U.S. subsidies have shifted, and continue to shift,
119   in the direction of energy sources that require market support – away from fossil fuels, and
120   towards renewables in support of a diversified energy portfolio.
121
122   Fourth, with respect to the impacts of federal subsidies on oil production, I find that Erickson
123   selectively targeted data and tailored his methods to inflate the beneficial impacts of subsidy
124   reform on fossil fuel consumption and associated emissions reductions. Erickson limits the bases
125   of his opinion to one academic study and one commercial study, even though those and other
126   reputable studies point to different conclusions. Notably, he is conspicuously silent regarding
127   the range of expert views on the matter of subsidy reform in the oil production sector. My
128   examination of these studies, as well as review of the studies that Erickson, himself, relies on as
129   part of the basis for his conclusions, indicates that the effect of oil subsidy reforms on emissions
130   will be small to zero. More broadly, the studies that Erickson cites in support of his analysis of
131   the impacts of subsidies on oil production do not substantiate his claims, and serve to evince that
132   this topic lacks clear-cut conclusions. Rather than subsidy policy, which is at the margin of key
133   considerations for the fossil fuel sector, it is my opinion that market and technological forces
134   mainly drive production, consumption, and emissions associated with the oil industry.
135
136   Fifth, with respect to the impacts of federal coal leasing policies, I again find that Erickson’s
137   conclusions are not supported by the breadth of nuanced research on this topic. In my expert
138   opinion, wholesale reform of federal coal leasing policies warrants more rigorous analysis of
139   attendant impacts than that presented by Erickson in his Expert Report. The foundation of
140   Erickson’s opinion is qualitative and focused on elementary economic logic that he mis-applies

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141   to the coal market. In my expert opinion, it is probable that coal extraction will continue to
142   decline over time, irrespective of federal coal leasing reforms or reversal of preferential tax-
143   based subsidies.
144
145   I also examined the foundation of Joseph E. Stiglitz’s assertion in his Expert Report, dated April
146   13, 2018, that the U.S. failed to take affirmative action to eliminate fossil fuels. I maintain that
147   this assertion is ill-founded and not well-substantiated. Specifically, Stiglitz fails to identify
148   plausible, real-world actions that the U.S. government could have taken that would have led to
149   appreciably different outcomes with respect to domestic and international energy systems. It is
150   my belief that the dependence on fossil fuels which existed prior to the oil crises of the 1970s,
151   and which exists today, in fact, is the inevitable consequence of history, contrary to the Stiglitz
152   assertion (page 12 in Stiglitz’ Expert Report). My opinion is shared by nationally-recognized
153   historians in energy technology.
154
155   In addition, Stiglitz fails to acknowledge that, in the late 1970s, when he asserts the U.S. failed to
156   take affirmative actions to move off fossil fuels, there was little experience with renewables
157   technology. What experience did exist suggests that such technologies could be as much as 25
158   times more costly than existing rival (fossil fuel) technologies. While advances in wind and solar
159   technologies have facilitated, and will continue to facilitate, integration of renewables into the
160   U.S. energy system, these technologies were cost-prohibitive in the 1970s, and the potential for
161   their future performance was relatively unknown.
162
163   Finally, I find that Erickson and Stiglitz make key errors of omission, in their respective Expert
164   Reports, by failing to note that climate change requires international cooperation, as a matter of
165   foreign policy. In my expert opinion, effective solutions to mitigate the adverse impacts of
166   climate change necessitate engaged cooperation between the U.S. and its international partners.
167   Stiglitz suggests that the U.S. has been neglectful in the actions needed to achieve international
168   cooperation on climate problems. I disagree. In fact, the U.S. has been at the forefront of efforts
169   to engage with its trading partners on issues of global climate, including efforts associated with
170   the Intergovernmental Panel on Climate Change (IPCC), the 1992 Framework Convention on
171   Climate Change, and the 2015 Paris Agreement.
172
173   It is my expert opinion that the simplistic and narrowly-focused approaches posited by Stiglitz
174   and Erickson with respect to U.S. engagement on the issue of climate change fails to appreciate
175   the global nature of the problem and the need for a nuanced foreign policy strategy to obtain
176   international cooperation. Below, I summarize the bases for my opinions in greater detail.
177




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178   Finding #1: THE SIZE AND COMPOSITION OF U.S. EMISSIONS NECESSITATES
179   AN INTEGRATED SOLUTION, AND THE U.S. SHARE OF GLOBAL EMISSIONS IS
180   DECLINING
181
182   The Plaintiffs in this case have put forth that “the United States is responsible for more than a
183   quarter of global historic cumulative CO2 emissions.”1 The Federal Defendants have admitted
184   that “from 1850 to 2012, CO2 emissions from the United States (including from land use)
185   constituted more than one-quarter of cumulative global CO2 emissions.”2 The Expert Report of
186   Mr. Peter A. Erickson, dated April 12, 2018, states:
187
188              “The U.S. is responsible for a substantial amount of global GHG [Greenhouse
189              Gas] emissions.” (page 3)
190
191   I examined the data relied upon, and the techniques applied by, Erickson to support his
192   conclusion. It is my expert opinion that Erickson’s analysis of the size and composition of U.S.
193   emissions obscures the scope and complexity of policy interventions needed to control those
194   emissions. Further, even if the U.S. were to unilaterally eliminate all of its current GHG
195   emissions, about 88% of global emissions would still remain.3 I state the bases for my opinion
196   below.
197
198   First, the data that Erickson presents as the basis for his opinion are for only a subset of
199   greenhouse gases—industrial emissions of carbon dioxide (CO2), mainly from burning fossil
200   fuels.4 In so doing, Erickson creates the impression that emissions control policies should
201   pinpoint only energy-related combustion of fossil fuels and niche industrial activities, such as
202   production of cement. This is incorrect, because Erickson’s statistics exclude 35% of global
203   emissions of GHGs, as shown in Figure 1 and explained below. A proper and full accounting
204   shows there are many other GHGs that contribute to climate change, beyond the subset of
205   emissions discussed by Erickson in his Expert Report. Further, in my view, emissions controls
206   should implicate a range of industrial and agricultural activities in the United States and abroad.
207   In fact, many other gases and sources beyond CO2 from industrial sources should be considered
208   when deriving a total estimate of GHG emissions—notably, methane (CH4), nitrous oxide (N2O),
209   CO2 from changes in land use, and so-called “F-gases” used in industrial operations. Scientific
210   evidence shows that soot also has a large impact on climate change—most soot comes from
211   biomass burning, combustion of diesel fuel, and a host of other activities in the US and abroad.5

      1
       First Amended Complaint for Declaratory and Injunctive Relief, Kelsey Cascadia Rose Juliana, et al. v. United
      States of America et al., Case No. 6:15-CV-01517-TC, Document No. 7, filed September 10, 2015, page 3, paragraph
      7.
      2
        Federal Defendants’ Answer to First Amended Complaint for Declaratory and Injunctive Relief (ECF No. 7), Kelsey
      Cascadia Rose Juliana, et al. v. United States of America et al., Case No. 6:15-CV-01517-TC, Document No. 98, filed
      January 13, 2015, page 5, paragraph 7.
      3
          See Figure 2 of this Expert Report for an explanation of the derivation of the 88% figure.
      4
        The Erickson report presents data from the Carbon Dioxide Information Analysis Center (CDIAC) at the Oak Ridge
      National Laboratory (ORNL). The CDIAC data set, available at http://cdiac.ess-dive.lbl.gov/, is focused on fossil
      fuels and industry. It is necessary to look to other data sources to develop a complete picture of GHG emissions.
      5
       T.C. Bond et al., “Bounding the role of black carbon in the climate system: A scientific assessment,” Journal of
      Geophysical Research: Atmospheres 118:538-5552, 2013. Drew Shindell, et al., “Simultaneously Mitigating Near-

                                                                  6
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212   In my opinion, by failing to consider the full range of activities and GHGs that contribute to
213   climate change, Erickson oversimplifies the scope of actions necessary to decrease global GHG
214   emissions.
215
216   My opinion is supported by Figure 1, which shows the full accounting for global emissions, as
217   reported in the latest assessment of the IPCC.6 In my view, policy intervention to mitigate the
218   growth of GHG emissions requires flexibility and should be broad in scope. Since 1990, the
219   U.S. has been a leading advocate for such a “comprehensive approach” in emissions statistics
220   and emissions control efforts.7 The essence of the U.S. approach is that any effort to limit
221   climate change should engage the full range of activities and GHGs that cause such change.
222
223   Specifically, I believe that the scope of policy intervention should include not just the whole of
224   the energy system (a major source of CO2 and CH4), but also agriculture and land policies (a
225   major source of CH4 as well as N2O and soot and the carbon absorbed in soils and thus CO2
226   emissions), air pollution policy (which affects CH4 and soot), wastewater treatment (a source of
227   N2O and CH4), many manufacturing industries (where fluorinated “F-gases” are used along with
228   cement where the chemistry of cement manufacture cases CO2), and forestry (which affects
229   carbon in soils and in above-ground timber). For these reasons, Erickson’s oversimplification of
230   the interventions necessary to achieve his stated reductions in GHG emissions fails to consider
231   the breadth of necessary policy changes, and the complexity of interactions between energy
232   systems and industrial sectors.




      Term Climate Change and Improving Human Health and Food Security,” Science 335(6065):183-189, Jan. 13,
      2012. Jennifer Burney, Charles Kennel, and David G. Victor, “Getting serious about the new realities of global
      climate change,” Bulletin of the Atomic Scientists 69(4):49-57, July 2013.
      6
       Figure 1 is based on methods that are widely accepted and used by the United Nations Framework Convention on
      Climate Change, and by the United States Government. Those methods include 100-year “global warming
      potentials” to account for the fact that greenhouse gases differ in their impact on the climate, and in the time
      horizon or which the greenhouse gases live in the atmosphere. See Working Group III Contribution to the Fifth
      Assessment Report of the Intergovernmental Panel on Climate Change, 2014, available online at:
      http://www.ipcc.ch/report/ar5/wg3/.
      7
       Jonathan B. Wiener & Richard B. Stewart, The Comprehensive Approach to Global Climate Policy: Issues of Design
      and Practicality, 9 Arizona Journal of International and Comparative Law 83-113 (1992). David G. Victor, 1991,
      "Limits of Market-based Strategies for Slowing Global Warming: The Case of Tradeable Permits," Policy Sciences,
      vol. 24, pp. 199-222. Alan D Hecht and Dennis Tirpak. Framework Agreement on Climate Change: A Scientific and
      Policy History. 1995. 29 Climatic Change 371-402.

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233
234   Figure 1: Emissions of GHGs. Figure shows emissions of different GHGs converted into
235   common units known as CO2-equivalents (CO2e). The waterfall on the right side of the chart
236   indicates uncertainty in the global estimates for each of these emission sources. The percentages
237   listed on the chart show the portion of global total emissions accounted for by each major type of
238   emission at each decade. In 2010, 35% of total GHG emissions derived from sources that are
239   expressly excluded from Erickson’s analysis, and therefore his summary statistics. Source:
240   Intergovernmental Panel on Climate Change, Working Group III Contribution to the Fifth
241   Assessment Report, 2014, Chapter: Summary for Policy Makers, page 7, Figure 1,
242   http://www.ipcc.ch/pdf/assessment-report/ar5/wg3/WGIIIAR5_SPM_TS_Volume.pdf.
243
244   Second, Erickson presents data on emissions from the U.S. and other countries, asserting that
245   “The U.S. remains the world’s second largest emitter, and has been responsible for about 15% of
246   global CO2 emissions since 2010.” (page 4) By ignoring trends over time, Erickson fails to
247   articulate the fact that overall U.S. emissions contributions have been declining since 2005 (see
248   inset to figure 2 below). With the decline in U.S. emissions, the ability of the U.S. to have an
249   impact on the global problem through unilateral action has declined, as well.
250
251   Figure 2 charts all GHG emissions, unlike Erickson’s data which are narrowly limited to CO2
252   emissions from fossil fuels and industrial sources. As shown, the U.S. share of global GHG
253   emissions has declined over the last decade. The decline in absolute level of U.S. emissions is
254   due to several factors, including: (1) the shift from coal to inexpensive natural gas in the power
255   sector; and (2) substantial expanded investment in renewable power.8 The decline in the U.S.



      8
        See also K. Larsen, J. Larsen, W. Herndon, S. Mohan, and T. Houser, Taking Stock 2017: Adjusting Expectations for
      US GHG Emissions (Rhodium Group, 2017). Carbon Dioxide Information Analysis Center, National CO2 Emissions
      from Fossil-Fule Burning, Cement Manufacture, and Gas Flaring: 1751-2014, national-level dataset dated March 5,

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256 share of global GHG emissions is due to two factors: (1) the decline in US absolute emissions;
257 and (2) the increase in absolute emissions attributable to other countries, such as China and
258 India.
259




260
261   Figure 2: Share of emissions from the U.S. and other countries that have important geopolitical
262   impacts on efforts to cooperate on climate change, from 1970 to 2012. The timeline ends in
263   2012, with the U.S. share at 12%, which reflects the end point for the most reliable updates of
264   the global data set for GHG emissions. Data for industrial CO2 extends to 2016. Inset figure
265   shows absolute emissions from the U.S. using two different accounting methods—top line
266   includes all GHGs and is comparable with the main figure; the bottom line includes only sources
267   of industrial CO2 and is comparable with the data presented by Erickson. The “all GHGs” data
268   in the EDGAR data sets exclude CO2 emissions from short cycle biomass burning and exclude
269   soot and other aerosols due to lack of data reliability and availability. The data in Figure 2 are
270   drawn from the EDGAR system, which is notable for its coverage and comprehensiveness;
271   EDGAR is the same source as that used for Figure 1.9



      2017, http://cdiac.ess-dive.lbl.gov/ftp/ndp030/nation.1751_2014.ems. These data indicate that U.S. emissions
      peaked at 1,578,873,000 metric tons of carbon in 2005, and have declined thereafter.
      9
       Sources: EDGAR 4.2 FT2012 (all GHGs through 2012) and EDGAR 4.3.2 (industrial CO2 up to 2016). Files are the
      GHG timeseries files at:
      http://edgar.jrc.ec.europa.eu/overview.php?v=42FT2012
      http://edgar.jrc.ec.europa.eu/overview.php?v=CO2andGHG1970-2016&dst=CO2emi

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272   My analysis indicates that even if the U.S. eliminates all of its territorial GHG emissions, and by
273   extension all of its CO2 emissions, a substantial share (88%) of total global GHG emissions
274   would remain. As shown in Figure 2, the U.S. is just one of many emitters, and action to limit
275   climate change requires coordinated international action.
276
277   Finding #2. IMPLEMENTING NEW CONSUMPTION-BASED ACCOUNTING METHODS FOR
278   GREENHOUSE GASES IS NEITHER ADMINISTRATIVELY NOR POLITICALLY STRAIGHTFORWARD
279
280   In his Expert Report, Erickson states:
281
282           “Due to advances in the availability of trade and other economic data,
283           consumption-based GHG inventories are not difficult to produce – especially at
284           the national level, even as the concepts and models used to produce them can be
285           complex.” (page 11)
286
287   Erickson further states:
288
289           “The most common approach is to use global trade data, assembled in a multi-
290           regional input-output (MRIO) model, to estimate the flow of materials, goods, and
291           services throughout the world in order to fulfill the consumption of a given
292           country.” (page 11)
293
294   Erickson concludes:
295
296           “In my opinion, few if any technical barriers would prevent the Federal
297           Defendants in this case, especially the U.S. EPA or U.S. DOE, from conducting
298           both consumption-based and extraction-based inventories for the U.S.”
299
300   I assessed the data summarized by Erickson in his Expert Report, and examined academic efforts
301   to adopt consumption-based accounting systems. In my opinion, Erickson oversimplifies the
302   technical feasibility of the U.S. adopting a supplemental, consumption-based GHG inventory.
303   Even if feasible, Erickson fails to articulate the length of time that will be needed to design and
304   implement a consumption-based accounting structure that: (1) accurately reflects the full range
305   of GHG emissions; and (2) is implemented with data and cooperation from all significant trading
306   partners of the United States. Further, Erickson fails to address the most important challenge in
307   adopting a new accounting system – aligning the new system with border adjustments, such that
308   imported products face the same emission control incentives as products manufactured in the
309   U.S. In my expert opinion, even if the U.S. were to shift to a consumption-based accounting
310   system, such a shift would affect the US share of global emissions by only about 1%. I
311   summarize the bases for my opinions below.
312
313   I agree that, in theory, a shift in emissions accounting could shed light on the number of products
314   consumed in the U.S. that contribute to emissions in territories outside the U.S. However, I

      To compute the US share, on the GHG timeseries worksheet for the EDGAR 4.2 FT2012 dataset, divide cell AS22
      (US emissions in 2012, which were 6343840 metric kilotons of CO2eq) into cell AS238 (global emissions in 2012,
      which were 53937188 metric kilotons of CO2eq).

                                                             10
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315   believe that any change in accounting scheme also must contemplate adjustments in border
316   tariffs, thereby creating the necessary incentives for all emitting firms, both global and domestic,
317   to control their emissions. Simply adopting a new accounting system will not have much impact
318   on behavior unless that system is coupled to incentives for firms and consumers to adjust their
319   behavior to reflect the full range of consumption-based emissions. Such border adjustments are
320   necessary so that U.S.-imported products face the same emission control incentives as products
321   manufactured within the U.S. Without a comprehensive solution that addresses this differential
322   in cost, the U.S. will be at an economic disadvantage vis-à-vis its international partners. This
323   disadvantage will make it harder to create the global incentives needed for global emission
324   reductions and will also exacerbate the political challenges of sustaining an effective climate
325   policy in the U.S.10
326
327   Erickson asserts that “consumption-based GHG inventories are not difficult to produce.” (page
328   11) As the basis for his opinion, Erickson presumes:
329
330        1. The technical computation of consumption-based statistics is “a relatively straight-
331           forward process” (page 11), and the “[m]ethods for conducting them have been widely
332           studied.” (page 13). Erickson cites to academic studies as the basis for these assertions.
333
334        2. Other jurisdictions—such as the United Kingdom11 and Oregon12—have conducted
335           consumption-based inventory and accounting, suggesting that precedent exists and
336           governments have overcome the technical challenges.
337
338        3. Border adjustments and tariff implications are not an impediment to advancement by
339           virtue of remaining silent to such issues in his Expert Report.
340
341   I believe that Erickson’s logic is faulty, and he fails to appreciate the complexity of adopting and
342   implementing a consumption-based accounting system. Specifically, Erickson fails to recognize
343   that, even with the agreement of its cooperative trading partners, it would take the U.S. one to
344   two decades to implement an effective consumption-based accounting system. If the U.S.
345   trading partners are not cooperative, then I believe that such a system would take even longer.13

      10
        Robert O. Keohane and David G. Victor, “Cooperation and discord in global climate policy,” Nature Climate
      Change 6:570-575 (2016).
      11
        United Kingdom Department for Environment Food & Rural Affairs, “UK’s Carbon Footprint 1997-2015,”
      available online at:
      https://assets.publishing.service.gov.uk/government/uploads/system/uploads/attachment_data/file/704607/Cons
      umption_emissions_May18.pdf.
      12
        Oregon Department of Environmental Quality, “Consumption-based Greenhouse Gas Emissions Inventory for
      Oregon,” available online at: https://www.oregon.gov/DEQ/mm/Pages/Consumption-based-GHG.aspx
      13
         A useful example of international cooperative engagement, and the magnitude of the challenges related to such,
      is the current effort by the American Institute of CPAs (AICPA) to converge International and U.S. Accounting
      Principles – alignment of U.S. generally-accepted accounting principles (or GAAP) and International Financial
      Reporting Standards (IFRS) set by the International Accounting Standards Board (IASB) in London, United Kingdom.
      The AICPA set a goal of “substantial completion of work” between the IASB and the Financial Accounting Standards
      Board (FASB) during 2013; this goal was supported by the G-20 group of countries, but convergence is still
      incomplete. The “Convergence Headquarters” webpage at IFRS.com, a site run by the IFRS Foundation (founded by

                                                             11
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346   Presently, and for the foreseeable future, there are substantial technical and methodological
347   challenges associated with adopting a consumption-based accounting system. I discuss these
348   challenges in more detail below.
349
350   First, data are accessible for industrial CO2 emissions, yet a serious and balanced policy strategy
351   must address the full range of GHGs. The foundational studies on consumption-based
352   accounting assess implications associated with industrial CO2 and fail to assess other GHGs or
353   polluting activities. For example, the UK accounting system purports to cover all GHGs. Yet,
354   my assessment of the data reveals that the more detailed estimates within the UK analysis cover
355   only industrial CO2 emissions.14 In my view, to implement consumption-based accounting in
356   ways that actually influence the activities contributing to emissions, a broader accounting of
357   GHGs is necessary than that which the current consumption-based accounting scheme can
358   support.
359
360   Second, all of the extant accounting efforts, which form the basis for Erickson’s opinion, are
361   based on average emission factors. Specifically, these methods rely on average emission
362   coefficients (e.g., for electric power) and average estimates for emissions caused by the
363   production of different tradeable goods (e.g., steel, cement). This is standard practice for the
364   input-output data sets and models that underlie the main studies on consumption-based
365   accounting. Nonetheless, little attention has been paid to the limitations associated with relying
366   on averages.
367
368   The practical implication of emissions averaging is that particular firms that are selling or buying
369   products will have an incentive to claim that their production is less emissions intensive than the
370   average. In some cases, those claims will be accurate. In other cases, firms will simply shift
371   energy sources so that they assign “clean” production to traded goods, while using “dirty”
372   production elsewhere. For example, a firm that produces energy-intensive products in China
373   might claim that it is purchasing electricity from the Chinese grid with a contract that assigns
374   nuclear power or renewable power to that firm, with no associated emissions. Yet, electrons are
375   co-mingled on electric grids, and the Chinese grid, on average, is dominated by coal-fired power
376   plants. How can the claim from the Chinese firm about its electricity supply contract be
377   validated? In my view, efforts to develop consumption-based accounting systems have not

      AICPA), lists a series of updates between October 2012 and February 2015, none of which indicate the
      achievement of full convergence. The latest progress report from the IASB and FASB on the convergence of
      accounting standards dates back to 2010 (accessible at https://www.asb.or.jp/jp/wp-
      content/uploads/20100706_11.pdf). In 2016, the SEC Chair issued a public statement stating: “While it is now clear
      that U.S. GAAP and IFRS will continue to coexist in our public capital markets for the foreseeable future, it is just as
      clear that the efforts to enhance the respective standards and reduce differences between them should continue.”
      The full statement is accessible at: https://www.sec.gov/news/statement/white-2016-01-05.html. The challenge
      of creating convergence and reliability in emissions statistics is much greater than for financial accounting because
      almost none of the foundation for detailed reporting of all underlying emissions, linked to particular firms and
      production methods, exists whereas the task of financial accounting convergence began after a comparable
      foundation was already in place.
      14
        United Kingdom Department for Environment Food & Rural Affairs, “UK’s Carbon Footprint 1997-2015,”
      available online at:
      https://assets.publishing.service.gov.uk/government/uploads/system/uploads/attachment_data/file/704607/Cons
      umption_emissions_May18.pdf.

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378   addressed the challenge of moving beyond simple averages, and in so doing reducing the
379   potential for leakage.
380
381   Simply ignoring the problem—as Erickson appears to do—raises the risk that the newly-
382   instituted consumption-based accounting system would be deemed inconsistent with applicable
383   trade law under the WTO. In practice, the WTO has allowed border measures, such as those
384   which would be implemented through consumption-based accounting, but only if countries
385   implement those border measures in ways that allow better-performing firms and governments to
386   be treated differently from worse-performing counterparts. In my expert opinion, accounting
387   systems should be designed to reflect real world behavior, and not simply rely on sectoral
388   averages of unknown accuracy.15 Quite apart from the question of WTO compliance is the
389   matter of incentives. The purpose of a consumption-based accounting system is to create
390   incentives for particular firms and consumers to adjust their behavior and reduce emissions in a
391   cost-effective manner. Failure to create a sophisticated accounting system that allows individual
392   firms to adjust their behavior and get credit for emissions lower than the sector average would
393   undermine the very purpose of adopting a consumption-based accounting system in the first
394   place.
395
396   Third, the data needed for a global consumption-based accounting system to be effective is
397   substantial and obtaining such data from overseas producers would be challenging. For example,
398   US-based administrators could not effectively review all relevant contracts for power supply in
399   China in the example offered above. Although I focus on China, because its firms account for
400   the largest share of emissions exported by virtue of the volume of products shipped to the U.S.,
401   for a consumption based accounting system to work, it would need to cover all significant
402   trading partners of the United States. Some of the data collection apparatus exists under
403   implementation of cross-border tax provisions. But, a similar infrastructure does not yet exist for
404   the collection of global emissions factors and other needed statistics.
405
406   Further, with respect to Erickson’s use of the UK model as a salient example of a successful
407   consumption-based accounting system, the UK program is largely an academic, thought
408   experiment. The UK model is focused on providing a complementary analysis of the UK
409   “footprint” with respect to global climate change. The Oregon program cited by Erickson tends
410   to be more transparent and routinized. However, it relies completely on sectoral averages, and
411   for the reasons discussed above, this renders the Oregon model unreliable. In addition, the
412   Oregon model fails to reveal how methodological challenges will be handled when individual
413   producers have an incentive to deviate from those averages.16

      15
         For example, see the World Trade Organization (WTO) Report of the Appellate Body, “United States – Import
      Prohibition of Certain Shrimp and Shrimp Products,” Report No. AB-1998-4, available online at:
      https://www.wto.org/english/tratop_e/dispu_e/58abr.pdf. While this entrains a number of legal and political
      issues outside the scope of my Expert Report, I note that a member of that WTO Appellate Body (Jim Bacchus) has
      written extensively about how the precedents created at the WTO allow for non-discriminatory border
      adjustments, including the border tax adjustments discussed in this report. See James Bacchus, on behalf of the
      E15 Expert Group on Measures to Address Climate Change and the Trade System, “Global Rules for Mutually
      Supportive and Reinforcing Trade and Climate Regimes,” January 2016, available online at:
      http://www3.weforum.org/docs/E15/WEF_Climate_Change_POP.pdf.
      16
        For detail on the indexes see Oregon Department of Environmental Quality, “Consumption-based Greenhouse
      Gas Emissions Inventory for Oregon,” available online at: https://www.oregon.gov/DEQ/mm/Pages/Consumption-

                                                            13
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414   My assessment of the UK and Oregon models reveals that neither system collects the data
415   needed to move beyond sectoral averages. Further, neither system offers a vision for how such
416   data could be collected and audited to check for data quality. With substantial cooperation
417   across different jurisdictions, the necessary data infrastructure could be built, but doing so will
418   take time and will require engaged international coordination, because building these systems
419   without the cooperation of governments in exporting countries would set the system up for
420   failure. In my view, unilateral action by the U.S. is insufficient to achieve this goal. My opinion
421   is supported by assertions made by Stiglitz in his Expert Report, wherein he relies on standard
422   economic theory to emphasize the need to “charge” emitters “…for the negative externalities
423   they create, such as carbon emissions,” but also recognizes that “…the vast majority of negative-
424   externality carbon emissions across the globe are not priced.” (page 38). Addressing this issue
425   requires international engagement, such that any sovereign imposing emissions controls on
426   produced goods also imposes a similar burden on its international trading partners with respect to
427   the emissions associated with imported goods. It is my expert opinion that failure to engage with
428   the international community on this issue will result in a flawed consumption-based accounting
429   system that fails to effectively create the incentives needed for global action. Worse, poorly
430   implemented consumption-based accounting systems and border adjustments could trigger
431   retaliation and trade wars, if exporting countries feel their products are being unfairly targeted or
432   importing countries feel they are at an economic disadvantage. Those side-effects of shifts in
433   trade-related policies could compromise U.S. policy to preserve a free and fair system for trading
434   goods and services in global markets.
435
436   In his Expert Report, Erickson also claims that “U.S. emissions from a consumption-based
437   perspective have been higher than territorial emissions since about the mid-1980s, as growth in
438   U.S. consumption of goods has outpaced growth in manufacturing.” (page 9) However,
439   Erickson fails to articulate how this proportional increase actually affects the U.S. overall share
440   of global emissions. My assessment of the data reveals that a shift to consumption-based
441   accounting affected the US share of global emissions by only about 1%. I show the data and
442   method underpinning this calculation below.
443
444   In the early 1990s, the U.S. was a net exporter of emissions to other countries. Since 1990, the
445   share of heavy manufacturing has declined, and the U.S. has become a net importer of emissions.
446   The effect of this shift is shown in Figure 3 (Peters et al., 2011). I rely on Figure 3 as the basis of
447   my opinion for two reasons. First, it is consistent with the method and data used in the first
448   authoritative study based on consumption accounting. Second, it offers country-level data that is
449   sufficiently transparent to be able to assess the numerical effects of consumption-based
450   accounting systems.17 According to the data in this study, the U.S. was a net importer of about

      based-GHG.aspx, and Oregon Department of Environmental Quality, “Greenhouse Gas Emissions and Emissions
      Intensities for Consumption of Materials, Services, Fuels and Electricity,” October 13, 2011, available online at:
      https://www.oregon.gov/deq/FilterDocs/wprSupTechRepGHGInten.pdf.
      17
        See: (1) GP Peters and EG Hertwich, “CO2 Embodied in international trade with implications for global climate
      policy,” Environmental Science & Technology, 42(5):1401-7, Mar 1, 2008; (2) Edgar G. Hertwich and Glen P. Peters,
      “Carbon Footprint of Nations: A Global, Trade-Linked Analysis,” Environmental Science & Technology, 43(16):6414-
      6420, June 15, 2009. These two papers offer foundations for the Peters et al. 2001 analysis. The papers, along
      with the Peters et al 2011 paper, have been cited substantially in the academic community (approx., 3,000 times
      per Google Scholar). See also Steven Davis and Ken Caldeira, “Consumption-Based Accounting of CO2 Emissions,”
      Proceedings of the National Academy of Sciences of the United States of America (PNAS) March 2010

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451   480 million metric tons of CO2 emissions annually in 2008. That is, if the U.S. adopted a
452   consumption-based accounting system, using the methods outlined in the Peters et al., 2011
453   study, U.S. emissions would have been about 480 million metric tons higher than U.S. emissions
454   accrued under a territorial-based accounting system.18 For comparison, that 480 million metric
455   tons is about 8.6% of US total industrial CO2 emissions in 2008 using territorial accounting.19
456
457   Thus, if the U.S. had adopted a consumption-based accounting system, such as the kind of
458   system advocated by Erickson’s report, its emissions would rise about 8.6% above those accrued
459   under the territorial-based accounting system. Applying this 8.6% increase to the most recent
460   estimates for the US share of world emissions would raise the US share from 12% with territorial
461   accounting to 13% with consumption-based accounting, i.e., an increase in the overall global
462   share of U.S. emissions of 1%.20 Concurrently, a shift from territorial-based to consumption-
463   based accounting systems likely would lower China’s responsibility for emissions by about three


      107(12):5687-92 (cited 1100 times). In addition, in his Expert Report, Erickson references four other studies that
      offer distinct methods and analysis:
      A) John Barrett et al., “Consumption-Based GHG Emission Accounting: A Case Study,” Climate Policy 13, no. 4
      (July 1, 2013): 451 70.
      B) Manfred Lenzen et al., “Building EORA: A Global Multi-Region Input Output Database at High Country and Sector
      Resolution,” Economic Systems Research 25, no. 1(March 1, 2013): 20-49.
      C) Peter Erickson, et al., “A Consumption_Based GHG Inventory for the U.S. State of Oregon,” Environmental
      Science & Technology, 46(7):3679-3686, March 22, 2012.
      D) Kirsten S. Wiebe and Norihiko Yamano, “Estimating CO2 Emissions Embodied in Final Demand and Trade Using
      the OECD ICIO 2015,” OECD Science, Technology and Industry Working Papers (Paris: Organisation for Economic
      Cooperation and Development, September 3, 2016), available online at: http://www.oecd-
      ilibrary.org/content/workingpaper/5jlrcm216xkl-en.
      These other four, measured by number of citations, have had a smaller impact on analytical research about
      consumption based accounting, with citations of 184, 505, 37, and 17 times (per Google Scholar). This citation
      analysis forms the basis for my choice of the Peters et al analysis to illustrate and elaborate my opinions in this
      Expert Report. This exercise is not intended to be a full assessment of the intellectual mapping of which groups
      and papers have had particular influence on the development of methods and analysis in this area. In my view,
      because the methods under development are at an early stage, and there are many different approaches and
      assumptions that could be applied, it is important to offer logic for why a particular study or method is used for a
      particular calculation.
      18
        This number reflects the change in average U.S. emissions in 2008 between territorial-based accounting and
      consumption based accounting, as reported in Peters et al., 2011. Specifically, Dataset S1 to Peters et al. 2011,
      Worksheet “7.TSTRD_Transfers” Cell U36, indicates a 2008 “transfer,” or difference between territorial- and
      consumption-based accounting systems of an increase of 479 million metric tons of CO2 emissions.
      19
        This figure computed by dividing 479 million metric tons into the estimated US industrial CO2 emissions are
      reported in the EDGAR data sources for Figure 2 of my Expert Report (5,602 million metric tons in 2008). Other
      sources produce similar numbers, including official US Government data: U.S. Department of Energy, Energy
      Information Administration, Table 12.1 Carbon Dioxide Emissions From Energy Consumption by Source,
      https://www.eia.gov/totalenergy/data/browser/index.php?tbl=T12.01#/?f=A&start=1973&end=2017&charted=0-
      1-13. These data indicate 2008 “total energy CO2 emissions” of 5,815 million metric tons.
      20
        This calculation requires two proportionality assumptions that underscore why it would be valuable to have
      reliable time-series estimates for consumption-based emissions for all GHGs, and until those estimates exist the
      assumption of proportionality is the best approach for calculation. I assume that the effect of 8.6% is proportional
      to all GHGs and that the effect of shifting to consumption based accounting for the US in 2012 would be
      proportional to 2008.

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464   times the increase in emissions attributable to the U.S.21 This shift is attributable to the fact that,
465   since the early 1990s, the main pattern in global trade has been the rise of China as a net
466   exporter, and the rise of the U.S. and Western Europe as net importers of most of China’s
467   emissions embodied in the country’s exports.
468




469
470   Figure 3: Shift in emissions (million metric tons of CO2) from 1990 to 2008 due to a shift from
471   territorial to consumption-based accounting. The top bar of the figure shows the rise in US
472   territorial emissions (grey bars) over time period of concern plus the incremental increase due to
473   emissions caused by products that are imported to the U.S. from China (blue bar), India (green
474   bar) and other developing countries. Source: Peters et al PNAS (2011, Figure 3).
475
476   Finding #3. US FEDERAL ENERGY SUBSIDIES HAVE A SMALL AND DECLINING
477   IMPACT ON US TERRITORIAL ENERGY PRODUCTION
478
479   When discussing U.S. subsidies, Erickson focuses predominantly on domestic fossil fuel
480   production, suggesting that U.S. subsidization of energy is dominated by fossil fuels. (page 13)
481   Notably, in Table 2 of his Expert Report, Erickson summarizes fossil fuel-related, direct
482   subsidies compiled by the US for the Group of Twenty (G20). (page 14) Erickson relies on the
483   data presented in Table 2 to highlight the magnitude of the spend made by the U.S. to subsidize
484   the fossil fuel infrastructure and production. In my expert opinion, Erickson’s use and summary
485   of these data misleads the reader in two ways.
486

      21
        See Dataset S1 to Peters et al 2011, Worksheet “7. TSTRD Transfers” Cells U36 and U52. China’s estimated
      difference in 2008 between the territorial- and consumption-based accounting systems yields a decrease of 1,329
      million metric tons of CO2 (Cell U52); the corresponding difference for the United States is 479 million metric tons
      (Cell U36). 1,329 / 479 = 2.77, i.e., China’s decrease in emissions from shifting from a territorial-based to a
      consumption-based accounting system is approximately three times as large as the United States’ increase from
      this shift. Other authoritative studies lead to similar conclusions, but, as befits research projects where the
      underlying data about emission factors and trade patterns are contested, there remains uncertainty. For example,
      Davis and Caldeira 2010 report net imports of emissions into the United States from overseas (exclusive of
      intermediate goods) at about 600 million metric tons of CO2 per year.

                                                              16
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487   First, it is important to put the total subsidy spend into perspective. Using the same numbers
488   quoted by Erickson ($4.8b of subsidy in 2015, mainly for oil and gas (page 13)), the total market
489   value of oil produced in the U.S. in 2015 was about $172b,22 and the value of produced natural
490   gas was about $73b.23 In total, US oil and gas producers extract commodities worth $245b per
491   year. The subsidy embodied in the output is only about 1.9% of the total market value of
492   production.24 In my view, subsidies worth that tiny fraction of the total value are not material to
493   an industry whose prices can swing many multiples of this percentage in a financial quarter.
494
495   Second, total energy subsidies include all forms of energy, not just fossil fuels, as suggested by
496   the focus placed by Erickson in Table 2 of his Expert Report. Total subsidies are much larger
497   and more nuanced than the simple direct expenditures summarized in Table 2.25 In my opinion,
498   by focusing on fossil fuel subsidies reported to the G20, Erickson cherry-picks just one element
499   of the total subsidies picture. The data reported to the G20 was part of a policy exercise
500   specifically focused on fossil fuel subsidies. In so doing, Erickson ignores the richer array of
501   evidence that provides a complete picture of subsidies across the energy sector. Similarly, in his
502   Expert Report, Stiglitz misleads the reader by focusing on fossil fuel subsidies, not
503   acknowledging the full array of energy subsidies, and ignoring the shift in U.S. subsidy strategy
504   away from fossil fuels and toward renewables. For example, Stiglitz asserts:
505
506              “…for at least 40 years…direct and indirect subsidies to fossil fuel producers hinder thea
507              doption of renewable energy and improvements in renewable energy technologies.” (page
508              38-39)
509
510   As the basis for this assertion, Stiglitz cites an attachment to a 1978 memo from Jim Schlesinger
511   to President Carter. Stiglitz offers no citations either to current retrospective analysis, (e.g., a

      22
        This is the simple volumetric calculation that multiples US. output for 2015 (9.4 million barrels per day, per U.S.
      Department of Energy, Energy Information Administration, U.S. Field Production of Crude Oil, 2015 at 9,408
      thousand barrels per day, available online at:
      https://www.eia.gov/dnav/pet/hist/LeafHandler.ashx?n=pet&s=mcrfpus2&f=a)) by approximate average price for
      the year ($50/bbl—slightly higher than West Texas Intermediate (WTI) at $49/barrel and slightly lower than Brent
      at $52/barrel, per U.S. Department of Energy, Energy Information Administration, “Crude oil prices started 2015
      relatively low, ended the year lower,” January 6, 2016, available online at:
      https://www.eia.gov/todayinenergy/detail.php?id=24432). 9,408,000 x 365 x $50 = $171,696,000,000, or
      approximately $172 billion.
      23
        Calculated based on U.S. gas production of 79 billion cubic feet (bcf) per day (U.S. Department of Energy, Energy
      Information Administration, “U.S. natural gas production reaches record high in 2015,” April 15, 2016, available
      online at: https://www.eia.gov/todayinenergy/detail.php?id=25832 ) and a wholesale Henry Hub price averaging
      $2.61 per million British thermal unit (MBBtu) that year (U.S. Department of Energy, Energy Information
      Administration, “Average annual natural gas spot price in 2015 was at lowest level since 1999,” January 5, 2016,
      available online at: https://www.eia.gov/todayinenergy/detail.php?id=24412 ). 79 bcf is equal to 76.3 trillion BTU
      (conversion factor 0.966), or simply 76,300,000 million BTU. 76.3 x 365 x $2.61 = $72.687 billion, or approximately
      $73 billion.
      24
           $4.8 billion divided by $245 billion yields approximately 0.02.
      25
        The U.S. Department of Energy, Energy Information Administration, provides an array of studies that assess the
      state of governmental financial interventions and subsidies relevant to energy markets. See U.S. Department of
      Energy, Energy Information Administration, “Direct Federal Financial Interventions and Subsidies in Energy in Fiscal
      Year 2015,” March 12, 2015, available online at: https://www.eia.gov/analysis/requests/subsidy/dmeess.php.

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512   time series analysis of subsidy reform), or to relevant policy and analytical research on
513   renewables and energy efficiency subsidies. Since 1978 a lot has happened, notably in shifting
514   direct subsidies away from fossil fuels and toward renewables and energy efficiency. He notes,
515   approvingly, that the price of solar panels is dropping (page 28). However, Stiglitz does not
516   indicate that those declines are, in part, due to the direct subsidies that the U. S., Germany, China
517   and other countries have offered and continue to offer to producers as well as purchasers of
518   renewable energy equipment, along with a host of other reforms that have made it easier to
519   connect solar electricity supplies to the grid. Instead, Stiglitz offers a hypothetical thought
520   experiment as to the kind of redress that is appropriate without any foundational basis:
521
522             “If Defendants stopped providing subsidies and/or implemented carbon pricing policies
523           that allow the U.S. government to further fund research and development of green
524           technologies to decarbonize the economy, such measures would have a large positive
525           impact in the long term…” (page 39)
526
527   In my opinion, if Erickson or Stiglitz were to analyze the breadth of U.S. subsidies, they would
528   concede a different perspective of U.S. policy with respect to subsidy and preferential treatment
529   of renewables vis-à-vis fossil fuels. Challenges exist in conducting a meta analysis of this sort.
530   Determining what constitutes a subsidy can be difficult, and accessing the relevant data
531   necessitates engaging with many sections of the federal government. Mindful of these
532   challenges, I elect to rely on the most recent (2012) systematic analysis by the Congressional
533   Budget Office (CBO), which compiled a wide array of direct subsidies by energy source.26 I
534   choose to focus on direct subsidies, because the quantitative information in Erickson’s Expert
535   Report focuses on a selection of direct subsidies related to the production of fossil fuels.
536
537   A key finding from the CBO analysis is that tax-based subsidies dominate total federal support
538   for energy sources. The CBO is systematic in their analysis of tax-based subsidies, which helps
539   to frame the tax treatment of fossil fuels; starting with this kind of systematic analysis lowers the
540   risk that statistics will be cherry-picked to favor one particular finding. As I previously stated,
541   fossil fuels dominate Erickson’s analysis of subsidies, particularly with respect to Table 2 of
542   Expert Report.27 Figure 4, below, reproduces the CBO’s key findings with respect to tax-based
543   subsidies.
544




      26
        U.S. Congressional Budget Office, “Federal Financial Support for the development and Production of Fuels and
      Energy Technologies,” Issue Brief, March 2012, available online at: https://www.cbo.gov/sites/default/files/112th-
      congress-2011-2012/reports/03-06-fuelsandenergybrief.pdf. In addition, the Congressional Research Service and
      the Office of Management and Budget have completed cross-sectoral studies of U.S. energy subsidies.
      27
         The accounting methods used in U.S. Government, “United States Self-Review of Fossil Fuel Subsidies”
      (Submitted December 2015 to the G-20 Peer Reviewers, December 2015),
      http://www.oecd.org/site/tadffss/publication/, which informs Table 2 of Erickson’s Expert Report differ from those
      used in the CBO’s analysis. For a more detailed comparison, contrast Table 2 of Erickson’s Expert Report with Table
      1 in U.S. Congressional Budget Office, “Federal Financial Support for the development and Production of Fuels and
      Energy Technologies,” Issue Brief, March 2012, available online at: https://www.cbo.gov/sites/default/files/112th-
      congress-2011-2012/reports/03-06-fuelsandenergybrief.pdf.

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545
546   Figure 4: Energy-Related Tax Subsidies, by Type of Fuel or Technology (billions 2011 USD).
547   Figure reports data from 1977 through 2011, the time period of concern in the CBO study28.
548
549   Although the data captured by the CBO study is through 2011, and the data relied upon by
550   Erickson from the G20 study is through 2015, a clear message emerges. While the CBO analysis
551   is systematic, the Erickson analysis relies on cherry-picked subsidy statistics that focus on fossil
552   energy subsidies, belying the larger picture. As the CBO study makes clear, most of the direct
553   subsidy spend by the US on energy (as computed through tax preferences) is focused on
554   renewables, not fossil fuels. Specifically, according to the CBO study, the portion of 2011 tax
555   preferences (subsidies) attributable to fossil fuels is about $2.5b.29 Whereas, the portion
556   attributable to renewables is about $12.9b; wherein $6.9b is attributable to biofuels (ethanol and
557   biodiesel), and the remaining $6b is attributable to other renewable power sources, such as solar
558   and wind.30
559
560   In my opinion, it is instructive to normalize these amounts of tax-based subsidies according to
561   production of fuels. As a fraction of the total U.S. energy supply, in 2011, fossil fuels accounted



      28
         Source: U.S. Congressional Budget Office, “Federal Financial Support for the development and Production of
      Fuels and Energy Technologies,” Issue Brief, March 2012, available online at:
      https://www.cbo.gov/sites/default/files/112th-congress-2011-2012/reports/03-06-fuelsandenergybrief.pdf, based
      on data from Molly F. Sherlock, Energy Tax Policy: Historical Perspectives on and Current Status of Energy Tax
      Expenditures, CRS Report for Congress R41227 (Congressional Research Service, May 2, 2011), p. 26; Joint
      Committee on Taxation, Estimates of Federal Tax Expenditures for Fiscal Years 2011-2015 (JCS-1-12, January 17,
      2012)pp. 33-35; Office of Management and Budget, Budget of the U.S. Government, Fiscal Year 2013: Appendix
      (Feb 2012), p. 1068.
      29
         U.S. Congressional Budget Office, “Federal Financial Support for the development and Production of Fuels and
      Energy Technologies,” Issue Brief, March 2012, available online at: https://www.cbo.gov/sites/default/files/112th-
      congress-2011-2012/reports/03-06-fuelsandenergybrief.pdf. Within Table 1 (p. 3), the tax preferences for fossil
      fuels sum to $2.5 billion, or $0.8 billion + $0.8 billion + $0.9 billion
      30
        U.S. Congressional Budget Office, “Federal Financial Support for the development and Production of Fuels and
      Energy Technologies,” Issue Brief, March 2012, available online at: https://www.cbo.gov/sites/default/files/112th-
      congress-2011-2012/reports/03-06-fuelsandenergybrief.pdf. Within Table 1 (p. 3), the tax preferences for
      renewable energy sum to $12.9 billion ($1.4 + $0.7 + $6.1 + $0.8 + $3.9).

                                                             19
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562   for 78% of total U.S. primary energy supply and received 12% in tax-based subsidies.31,32 In
563   2011, new renewable energy technologies including wind, solar and biomass s accounted for
564   7.8% of U.S. primary energy supply and received 63% in tax-based subsidies. The numbers for
565   renewables are distorted by U.S. biofuels policy.33,34 Nonetheless, my assessment reveals that
566   proportional to U.S. energy output, the tax-related subsidy for new renewables, in 2011, was
567   over 50 times the level of tax-related subsidies for fossil fuels.35 This assessment reveals that,
568   when properly analyzed, U.S. subsidies have shifted, and continue to shift, in the direction of
569   energy sources that require market support, and are favored as contributing elements of a
570   diversified energy portfolio.
571




      31
        U.S. Department of Energy, Energy Information Administration, Table 1.2 Primary Energy Production by Source,
      available online at:
      https://www.eia.gov/totalenergy/data/browser/index.php?tbl=T01.02#/?f=A&start=1949&end=2017&charted=1-
      2-3-4-6-13. Data indicate that total fossil fuel-based energy production in 2011 was 60.543191 quadrillion Btu,
      compared to 78.035874 total energy production, or approximately 77.58 percent.
      32
        U.S. Congressional Budget Office, “Federal Financial Support for the development and Production of Fuels and
      Energy Technologies,” Issue Brief, March 2012, available online at: https://www.cbo.gov/sites/default/files/112th-
      congress-2011-2012/reports/03-06-fuelsandenergybrief.pdf. Within Table 1 (p. 3), the tax preferences for fossil
      fuels sum to $2.5 billion, or $0.8 billion + $0.8 billion + $0.9 billion. $2.5 billion divided by total 2011 energy-related
      tax preference as reported in Table 1, or $20.5 billion, yields 0.122, or approximately 12 percent.
      33
        U.S. Department of Energy, Energy Information Administration, Table 1.2 Primary Energy Production by Source,
      available online at:
      https://www.eia.gov/totalenergy/data/browser/index.php?tbl=T01.02#/?f=A&start=1949&end=2017&charted=1-
      2-3-4-6-13. Data indicate that total renewables-based energy production in 2011 was 9.223985 quadrillion Btu; of
      that total 3.102852 quadrillion BTU equivalents came from hydroelectricity. I exclude hydroelectricity from my
      calculation of the “renewables” subsidy share, because: (a) there is relatively little tax preference allocated to
      hydro, and (b) most studies about the potential for shifting to renewable energy (and the need for policy
      supporting that shift) focus on what are often called “new renewables,” which is a concept that explicitly excludes
      the large hydro plants that account for nearly all US hydroelectricity production. That leaves 6.121133 quadrillion
      BTU of renewables output, compared to 78.035874 total energy production, or approximately 7.84 percent. The
      data available do not support disentanglig the federal tax preferences for hydroelectricity that might be included in
      the CBO analysis.
      34
        U.S. Congressional Budget Office, “Federal Financial Support for the development and Production of Fuels and
      Energy Technologies,” Issue Brief, March 2012, available online at: https://www.cbo.gov/sites/default/files/112th-
      congress-2011-2012/reports/03-06-fuelsandenergybrief.pdf. Within Table 1 (p. 3), the tax preferences for
      renewables sum to $12.9 billion ($1.4 + $0.7 + $6.1 + $0.8 + $3.9). $12.9 billion divided by total 2011 energy-
      related tax preference as reported in Table 1, or $20.5 billion, yields 0.629, or approximately 63 percent.
      35
         $2.5 billion in tax preference relative to 60.543191 quadrillion Btu of energy produced in 2011 yields
      approximately $0.041292835 billion in tax preference per quadrillion Btu of fossil fuel energy produced. $12.9
      billion in tax preference to 6.122 quadrillion Btu of energy produced in 2011 yields approximately $2.107453 billion
      in tax preference per quadrillion Btu of renewables-based energy produced. $2.107453 / $0.041292385 = 51.04, or
      approximately a factor of 51. (If this calculation is performed to include hydroelectricity, then the result is a factor
      of approximately 34.)

                                                                 20
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572   Finding #4. CHANGING FEDERAL SUBSIDIES ON OIL WILL HAVE MINIMAL
573   IMPACT ON GLOBAL OIL PRICES, OIL CONSUMPTION AND EMISSIONS
574
575   In his Expert Report, Erickson states:
576
577          “… with prices at or near $50 per barrel, the U.S. government is substantially
578          expanding the country’s future oil production, relative to if these subsidies were
579          not in place.” (page 16)
580
581   Erickson concludes:
582
583          “… it is my professional opinion that, at least for oil, Federal Government
584          subsidies are likely to both increase oil industry profits and increase U.S. oil
585          production. Both of these outcomes make it more difficult for the U.S. to
586          transition to a low-carbon economy and meet domestic and international climate
587          goals …” (page 16)
588
589   In his Expert Report, Stiglitz echoes these views as part of a broader claim that the U.S. is
590   engaged in a “perpetuation of a national fossil-fuel based energy system.” (page 7) Stiglitz fails
591   to provide a well-founded basis for this opinion. I focus on the assertions made by Erickson
592   regarding the impact of subsidies on oil production, because they are quantitative and based on a
593   model analysis, for which the underlying assumptions about the factors that affect production can
594   be scrutinized and compared with the literature.
595
596   In my view, Erickson has selectively targeted data and tailored his methods to inflate the
597   beneficial impacts of subsidy reform on U.S. consumption of fossil fuels, and associated
598   reductions in emissions contributions. My assessment of Erickson’s research indicates that
599   Erickson mines the facts to support his arguments about the impact of subsidies on oil
600   production. Specifically, Erickson is conspicuously silent about the range of expert views on the
601   matter of subsidy reform in the oil sector. Erickson limits the bases of his opinions to illustrative
602   calculations from one set of studies (for which Erickson is co-author). Yet other reputable
603   studies, including studies that Erickson himself cites, point to different conclusions. Based on
604   my examination of these other studies, I conclude that the effect of oil subsidy reforms on
605   emissions will be much smaller than suggested by Erickson, because other factors have a much
606   larger impact on production decisions, the industry is highly competitive and responsive to
607   changes in market conditions and production costs. In addition, relative to the size of the sector,
608   the impact on the total financial picture of the industry is extremely small (on the order of 1% of
609   turnover, as I describe below). Below, I detail the three bases for my conclusions.
610
611   First, Erickson’s findings are based on a thought exercise that is not reflective of reality.
612   Erickson’s thought exercise is predicated on substantial changes to the U.S. tax code to remove
613   all subsidies related to fossil fuels while leaving subsidies that affect the rest of the energy
614   system untouched. Moreover, Erickson’s Report is misleading, because he offers his opinions in
615   the context of altering relatively narrow tax measures. Yet, to support his opinions he relies on a
616   modeling study that actually adopts an expansive notion of subsidy, which includes topics such
617   as liability transfers to the government for closure of oil wells, transfer of railroad safety risks to
618   the public, public funding of the strategic petroleum reserve, public coverage of damage to roads,

                                                        21
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619   and a host of other measures.36 On page 14, Erickson presents Table 2, which lists direct
620   subsidies for coal, oil and gas—subsidies that he calls “tax measures” (line 602). Then on page
621   15, Erickson points to other industry and academic studies that examine these “tax measures.” As
622   a means of further comparison, Erickson then turns to his own opinion, relying notably on a
623   peer-reviewed 2017 publication in Nature Energy.37 In fact, the modeling methods and data
624   utilized in the Nature Energy paper are not limited to tax measures but rely on Erickson’s more
625   expansive notion of subsidies. Through this sleight of language in Erickson’s Expert Report, the
626   reader is left with the impression that, at oil prices of $50/barrel, as Erickson says of his team’s
627   analysis: “…we found that 47% of new U.S. oil investment would depend on subsidies to
628   proceed.” (page 15). This statement reports data from his Nature Energy paper38 that, in fact, is
629   based on model runs that assume his fully expansive view of subsidies. In his Expert Report,
630   Erickson then returns to the narrow definition of tax measures, comments on the effect of
631   intangible drilling costs (a tax measure), and draws the general conclusion: “…the U.S.
632   government is substantially expanding the country’s future oil production, relative to if these
633   subsidies were not in place.” (page 16). Erickson never explains (either in his Expert Report, or
634   in the published materials that he cites) how much of the effect is due to tax measures and how
635   much hinges on his more expansive notion of subsidies. As a result, the reader is left wondering
636   how the scope of Erickson’s analysis compares with the assertions made in his Expert Report.
637   For these reasons, I believe that Erickson’s assertions on these matters are unsupported and
638   unreliable.
639
640   For Erickson’s thought exercise to be successful, expansive changes would be needed not just in
641   federal policy, but also to state tax codes and local zoning ordinances associated with
642   infrastructure improvements. If there were substantial changes in federal policy then states and
643   localities also would respond, often with counter-acting effects. Yet, in his Expert Report,
644   Erickson is silent on the breadth of policy intervention that his thought exercise would
645   necessitate and also silent on possible counter-vailing responses. It is only upon examination of
646   the underlying technical documentation that informs Erickson’s analysis that the breadth of
647   intervention becomes clear.39 Further, it is only upon examination of the underlying
648   fundamentals of Erickson’s analysis that one understands the degree to which Erickson’s
649   findings rely on unilateral or binary assumptions—if all subsidies were removed, then a preferred
650   outcome arises. Common sense dictates that policy intervention involves various slopes (or


      36
         See table 1 of P. Erickson, A. Down, M. Lazarus, D. Koplow, “Effect of subsidies to fossil fuel companies on United
      States crude oil production,” Nature Energy 2:891-898 (2017) And for more detail see supplemental materials to
      that article at Supplementary information is available for this paper at https://doi.org/10.1038/.
      s41560-017-0009-8.
      37
         P. Erickson, A. Down, M. Lazarus, D. Koplow, “Effect of subsidies to fossil fuel companies on United States crude
      oil production,” Nature Energy 2:891-898 (2017)
      38
         See table 2 of P. Erickson, A. Down, M. Lazarus, D. Koplow, “Effect of subsidies to fossil fuel companies on United
      States crude oil production,” Nature Energy 2:891-898 (2017)
      39
         In particular, the appendix to the 2017 Working Paper that offers more detail on See P. Erickson, A. Down, M.
      Lazarus, D. Koplow. Effect of government subsidies for upstream oil infrastructure on U.S. oil production and
      global CO2 emissions. 2017. Stockholm Environment Institute Working Paper 2017-02. I rely on that working
      paper because it offers a fuller assessment of the modeling work and how it compares with other studies than is
      available in the supplemental materials to the published peer-reviewed article from the same study team, which
      are available at: https://doi.org/10.1038/.
      s41560-017-0009-8.

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651   degrees) of change. In his expert report, Erickson does not contemplate, or analyze the impact
652   of, degrees of change arising from his proposed policy intervention(s).
653
654   Second, Erickson frames the basis for his argument in general terms of supply and demand and
655   points to other industry and academic studies that, he implies, offer supportive conclusions. For
656   example, he begins his comparison of other studies with the statement “[t]here is evidence that
657   these tax measures positively affect fossil fuel industry profits and investment…” (page 14)
658   Perhaps this is a fair statement, because it is so general; but the details can have a large impact on
659   the conclusions. My examination of the existing literature suggests that the existing literature
660   nuanced. Reasonable disagreement exists as to whether subsidy reform would have a material
661   impact on U.S. oil production.
662
663   Before presenting his results, Erickson points to two others studies that have examined how tax-
664   based subsidies might affect behavior in the industry. Other materials published by Erickson and
665   his co-authors allow some detailed comparison between his opinion and these two published
666   studies.40 My analysis of these comparisons suggests that the differences across the studies are
667   large. Notably, I believe that this is something that Erickson has found in his own published
668   research, yet he elects to not mention or explain these differences in his Expert Report. The first
669   study was completed by Dr. Gilbert Metcalf, a highly respected economist; the second study
670   was completed by Wood Mackenzie, a highly respected energy research and consultancy
671   group.41
672
673   The study completed by Metcalf has the benefit of being straightforward. Specifically, at
674   prevailing oil prices of $50/bbl, Erickson’s studies suggest that 72% of the onshore projects by
675   independent oil producers depend on the presence of subsidies,42 whereas Metcalf concludes that
676   just 8% of the onshore independent producers on subsidy for their decision to drill.43 Offshore,

      40
         P. Erickson, A. Down, M. Lazarus, D. Koplow. Effect of government subsidies for upstream oil infrastructure on
      U.S. oil production and global CO2 emissions. 2017. Stockholm Environment Institute Working Paper 2017-02.
      41
         These comparisons are referenced in the appendices (Tables A-5 and A-6) to a working paper that Erickson cites
      as technical support for the oil market model, and which he uses as the basis for his Expert Report. See See P.
      Erickson, A. Down, M. Lazarus, D. Koplow. Effect of government subsidies for upstream oil infrastructure on U.S.
      oil production and global CO2 emissions. 2017. Stockholm Environment Institute Working Paper 2017-02.
      42
        See P. Erickson, A. Down, M. Lazarus, D. Koplow. Effect of government subsidies for upstream oil infrastructure
      on U.S. oil production and global CO2 emissions. 2017. Stockholm Environment Institute Working Paper 2017-02.,
      Table A-5, p. 47. See also P. Erickson, A. Down, M. Lazarus, D. Koplow, “Effect of subsidies to fossil fuel companies
      on United States crude oil production,” Nature Energy 2:891-898 (2017)
      43
         Gilbert E. Metcalf, “The Impact of Removing Tax Preferences for U.S. Oil and natural Gas Production: Measuring
      Tax Subsidies by an Equivalent Price Impact Approach,” NBER Working Paper Series, NBER, August 2016, available
      online at: http://www.nber.org/papers/w22537.pdf. See Table 5, p. 40, which indicates that the change in drilling
      rates for independent on shore oil producers is an 8.2 decrease (given an absence of subsidy). For consistency I
      will cite the NBER version of the paper because that is what Erickson cited, but the more authoritative version is
      peer-reviewed and published: Gilbert E. Metcalf. "The Impact of Removing Tax Preferences for U.S. Oil and Gas
      Production" Journal of the Association of Environmental and Resource Economists Vol. 5 Iss. 1 (2017) p. 1 – 37.
      Doi: 10.1086/693367




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677   the differences are even larger. Specifically, according to Erickson’s research, 100% of
678   independent offshore drilling depends on subsidy,44 whereas Metcalf concludes that just 17% of
679   independent offshore drilling depends on subsidy.45
680
681   Erickson’s Expert Report suggests that his findings are consistent with “university and research
682   studies” (page 15), wherein he specifically cites to the Metcalf study (page 15, FN 33).
683   However, as per the parameters summarized above, my assessment of the Metcalf analysis
684   suggests a conclusion that is opposite to that proffered by Erickson. Specifically, at least for oil,
685   the Metcalf study suggests that Federal government subsidies have little impact on U.S. oil
686   production because most of the types of wells drilled for new production (onshore and offshore)
687   are profitable without subsidies.
688
689   In addition, Erickson cites three times to a policy brief by Joe Aldy, implying a further
690   consistency between his opinion and that of other experts. (Aldy is an economist—formerly in
691   the U.S. Government and now at Harvard’s Kennedy School.) My examination of the Aldy brief
692   suggests that, in fact, it is not consistent with Erickson’s position. Specifically, Aldy concludes
693   that oil production subsidies “have a very small impact on production, their removal will not
694   materially increase retail fuel prices, reduce employment, or weaken U.S. energy security.”46
695
696   With regard to the study completed by Wood Mackenzie, which Erickson discussed only in
697   passing in his Expert Report, the key question of concern is whether preferential tax treatment
698   associated with Intangible Drilling Costs (IDC) has a material impact on oil production, prices,
699   oil consumption, and by extension emissions contribution. The oil industry is attentive to IDC,
700   because it is the largest single subsidy for oil and gas production. In Erickson’s own study
701   published in Nature Energy, he and his co-authors also find that IDC has the single largest
702   impact on the IRR that they estimate for new drilling.47 For example, in 2015, it accounted for


      44
        See P. Erickson, A. Down, M. Lazarus, D. Koplow. Effect of government subsidies for upstream oil infrastructure
      on U.S. oil production and global CO2 emissions. 2017. Stockholm Environment Institute Working Paper 2017-02.,
      Table A-5, p. 47, Table A-5, p. 47.
      45
        Gilbert E. Metcalf, “The Impact of Removing Tax Preferences for U.S. Oil and natural Gas Production: Measuring
      Tax Subsidies by an Equivalent Price Impact Approach,” NBER Working Paper Series, NBER, August 2016, available
      online at: http://www.nber.org/papers/w22537.pdf. See Table 5, p. 40, which indicates that the change in drilling
      rates for independent on shore oil producers is an 8.2 decrease (given an absence of subsidy). There are many
      differences between the models that can explain these results, not least of which is the fact that the Metcalf
      results are presented independent of price, whereas Erickson’s team presents their own model with price-
      dependent results. The Metcalf study is presented in a working paper by an academic foreign policy think tank
      (The Council on Foreign Relations—I am a member of that organization), and the Erickson detailed studies are
      presented in a working paper by a think tank, with which he is affiliated (Stockholm Environment Institute).
      Neither of these working papers appears to be reviewed in the manner typical of academic journals, and neither
      author has been asked to do the detailed model-by-model comparisons that are typical in the energy modeling
      community.
      46
        Joseph E. Aldy, “Report: Eliminating Fossil Fuel Subsidies,” February 26, 2013, Proposal 5 in Brookings Institution,
      “15 Ways to Rethink the Federal Budget,” published February 22, 2013, available online at:
      https://www.brookings.edu/research/eliminating-fossil-fuel-subsidies/.
      47
        See the waterfall charts in figure 2 of P. Erickson, A. Down, M. Lazarus, D. Koplow, “Effect of subsidies to fossil
      fuel companies on United States crude oil production,” Nature Energy 2:891-898 (2017),

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703   $1.6b/yr in subsidy.48 But this amount must be kept in perspective. As a measure of
704   comparison, $1.6b/yr is 0.6% of the produced value of oil and gas in the U.S.49
705
706   In my view, the issue of concern is not whether the oil industry would prefer to preserve a
707   preferential tax treatment, but rather whether eliminating the preferential treatment (or subsidy)
708   for IDC has a material impact on oil production. I discuss the particulars of this study by Wood
709   Mackenzie, and its relevance to Erickson’s opinion in more detail below.
710
711   First, Erickson’s own research—published elsewhere, but not discussed in his Expert Report—
712   reveals that the magnitude of effects in the Wood Mackenzie model differ from those in
713   Erickson’s model by a factor of two or more.50 By citing the Wood Mackenzie model as a basis
714   for his opinion, yet offering an opinion that deviates substantially from that study, Erickson
715   confounds the question of the impact of subsidies on production. Given the breadth of
716   uncertainty raised by the differences in subsidy effects analyzed in the Erickson, Metcalf, and
717   Wood Mackenzie studies, the actual impacts of subsidies on oil production appear to be a matter
718   of substantial debate. In my view, the degrees of difference between all three analysis reinforce
719   that Erickson’s opinion, as proffered in his Expert Report is unreliable.
720
721   Second, the scope of the Wood Mackenzie study is different than that of Erickson’s research.
722   Erickson is focused on oil production; oil is a highly marketable commodity, easily transported
723   to market. By contrast, the Wood Mackenzie study examined the impact of IDC on oil and gas
724   drilling activity. In general, the drilling costs associated with gas wells tend to be more sensitive
725   to costs, and therefore more sensitive to changes in preferential tax treatment, because the price
726   of gas remains low in the U.S. due to the technological advances associated with shale gas
727   exploration. Erickson is silent on these significant methodological differences in approach
728   between his analysis and the Wood Mackenzie study. Given these methodological differences, it
729   is not self-evident that the Wood Mackenzie study supports Erickson’s analysis. In my view,
730   across the array of studies on which Erickson relies to form the basis of his opinion, there is no
731   consensus on the effect of subsidies on oil production
732
733   In addition to Erickson’s discussion regarding onshore drilling, which I find to be
734   unsubstantiated and unreliable, the modeling studies that Erickson uses as a basis for his opinion
735   include estimates that 73% of undeveloped offshore resources depend on subsidy to be economic
736   at $50/bbl. In my view, this finding, and thus the opinions in Erickson’s Report that are based in

      48
           According to US Government estimates that are reprinted in Table 2 of Erickson’s expert report.
      49
        See discussion under Finding #3 of this report. Total market value of oil produced in the United States in 2015
      was about $172b, and the value of produced natural gas in 2015 was about $72b. Therefore, $1.6 billion divided by
      ($172b + $72b) yields approximately 0.0065306, or 0.6 percent. Here I focus on oil and gas together because IDC
      applies to both, but Erickson’s analysis looks only at oil.
      50
        The Wood Mackenzie study finds that 40% of onshore projects depend on this subsidy, compared with Erickson’s
      own research, suggesting that 18% of onshore projects have such dependency. Offshore, the results are reversed
      and even larger—9% for Wood Mackenzie and 25% for the Erickson team. See Wood Mackenzie, Impacts of
      Delaying IDC Deductibility (2014-2025), prepared for the American Petroleum Institute, 2013, available online at:
      http://www.api.org/~/media/files/policy/taxes/13-july/api-us-idc-delay-impacts-release-7-11-13.pdf and P.
      Erickson, A. Down, M. Lazarus, D. Koplow, “Effect of subsidies to fossil fuel companies on United States crude oil
      production,” Nature Energy 2:891-898 (2017), Table A-6, p. 48.

                                                                25
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737   part on this finding, also is unsubstantiated and unreliable. The study by Metcalf, which looked
738   at this issue, offers no such support for that conclusion.51 Nor does one find support in the real
739   world. Prior to 2014, when oil prices were high, a coalition led by BP planned a $20b offshore
740   oil production project in the Gulf of Mexico called “Mad Dog 2.” Co-located near an existing oil
741   field (Mad Dog 1), Mad Dog 2 would produce 140,000 barrels per day. When oil prices crashed
742   in 2014, Mad Dog 2 was idled and redesigned using more standardized platform designs and a
743   host of improvements that radically reduced costs. In December 2016, when oil prices were
744   forecasted at $50/bbl, or about half the level prior to the price crash of 2014, BP restarted Mad
745   Dog 2. In announcing the venture, BP’s CEO stated: “This announcement shows that big deep
746   water projects can still be economic in a low-price environment in the US if they are designed in
747   a smart and cost-effective way.”52 Although these changes are under way in the real world, in
748   Erickson’s peer-reviewed Nature Energy paper, he and his co-authors exclude offshore drilling
749   from the main display figure. They state: “…Very few projects for offshore Gulf of Mexico are
750   economic at an oil price of US $50 per barrel, and the effect of subsidies is both small in IRR
751   terms and highly variable.”53 Yet, it is precisely in that real-world context—oil at $50, and
752   subsidies that have a small and variable effect on the internal rate of return (IRR) for offshore
753   drilling, that BP restarted Mad Dog 2, arguably one of the largest new oil production projects in
754   the Gulf of Mexico. This anecdote illustrates that the industry is accustomed to responding to
755   changes in the fiscal environment for projects that are forecasted to yield returns irrespective of
756   the contemplated elimination of direct subsidies.
757
758   In my opinion, tinkering at the margins of the fossil fuel sector with subsidy policy—even an
759   extreme tinkering with Erickson’s proposed realignment of the U.S. tax code—is dwarfed in
760   relevance by market and technological forces. Direct production subsidies are on the scale of 1%
761   of industry production; real technological and operational changes have responded to changes of
762   50% in the value of produced oil in just a few years. Further, the studies Erickson relies upon to
763   support his arguments fail to evince a clear relationship between subsidy policy and oil
764   production.
765
766   Finding #5. CHANGING FEDERAL COAL LEASING POLICIES WILL HAVE SMALL
767   EFFECTS ON US CONSUMPTION OF COAL AND EMISSIONS CONTRIBUTIONS
768
769   In his Expert Report, Erickson states:
770
771            “…federal land leasing practices show how the Federal Government plays a
772            significant role in aiding and facilitating U.S. fossil fuel extraction” (page 19)
773
774   Essentially, Erickson asserts that the U.S. subsidizes fossil fuel extraction by leasing federal
775   lands to industry actors, and failing to charge lessees the full cost of extraction from federal

      51
         Gilbert E. Metcalf, “The Impact of Removing Tax Preferences for U.S. Oil and natural Gas Production: Measuring
      Tax Subsidies by an Equivalent Price Impact Approach,” NBER Working Paper Series, NBER, August 2016, available
      online at: http://www.nber.org/papers/w22537.pdf.
      52
         Jessica Tippee, “Re-engineered Mad Dog Phase 2 gets the greenlight,” Offshore, January 2, 2018, available online
      at: https://www.offshore-mag.com/articles/print/volume-77/issue-12/top-offshore-projects/re-engineering-mad-
      dog-phase-2-gets-the-greenlight.html.
      53
        See caption to figure 2 on page 894: P. Erickson, A. Down, M. Lazarus, D. Koplow, “Effect of subsidies to fossil
      fuel companies on United States crude oil production,” Nature Energy 2:891-898 (2017)

                                                               26
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776   lands. Erickson, in particular, focuses his analysis of leasing reform on coal. In his Expert
777   Report, Stiglitz offers supporting comments for coal leasing reforms that would charge producers
778   the full costs of extraction from federal lands, including charges for the harm caused by GHG
779   emissions (page 36); Stiglitz asserts that the U.S. should “cease approvals for any new fossil fuel
780   infrastructure.” (page 39)
781
782   I examine the impacts of coal leasing reforms as asserted by Erickson in his Expert Report,
783   because this is the area where it is possible to compare Erickson’s assertions with leasing reform
784   proposals that have been the subject of quantitative examination by other analysts. The issue at
785   hand is whether eliminating federal leasing practices for coal extraction would have a material
786   impact on the U.S. output of coal, the price of coal, and thus coal consumption and attendant
787   emissions contributions in the U.S. I believe that the research on this issue is nuanced and
788   largely unsupportive of Erickson’s findings. I discuss the basis for my opinion below.
789
790   First, it is difficult to evaluate the data and methods used by Erickson, and therefore substantiate
791   his conclusions regarding federal leasing reform. Erickson does not offer a model-based analysis
792   as the basis for his views, nor does he offer the findings of an independent literature review.
793   Instead, Erickson appears to base his conclusion on the logic of supply and demand; he suggests
794   that leasing reforms will constrain supply, prices will then go up, and demand must go down.
795   He observes that the impact of leasing reforms on fuel prices and CO2 emissions “depends on
796   one’s view of how fuel markets operate” (page 18). Yet, Erickson’s analysis includes no serious
797   attention to how the coal market actually functions. The users of coal (mainly electric utilities)
798   are under extensive regulatory and business pressures that affect the ultimate demand for coal.
799   Moreover, transportation costs are a larger share of delivered fuel prices. When transport is
800   expensive, changes in production costs have a smaller impact on the cost of delivered coal.
801   Further, even if major sources of fossil fuels from federal lands are curtailed—for example, if
802   coal extracted from federal lands were to become more expensive or curtailed altogether—then,
803   in a free market structure, other suppliers could potentially offset or erase the effects from federal
804   leasing reforms.
805
806   I agree with Erickson that an understanding of how markets operate is critically important; in
807   my view, the qualitative schematic that Erickson offers to explain behavior in the coal market is
808   not accurate. In my opinion, wholesale reform of federal fossil fuel leasing policies warrants
809   more rigorous analysis of attendant impacts than that presented by Erickson in his Expert Report.
810
811   Second, Erickson demonstrates lack of attention to the existing literature on the topic of federal
812   fossil fuel leasing reform. Similar to his discussion of subsidy reform, Erickson’s Expert Report
813   suggests that academic research is supportive of his conclusions. As the basis for his opinion,
814   Erickson asserts there has been little analysis of the impact on emissions of constraints imposed
815   on U.S. fossil fuel production. In my opinion, this is incorrect. Erickson also posits that there is
816   widespread agreement regarding the effects of leasing reform fossil fuel markets. He cites to a
817   body of literature focused on the function of energy markets (ref 53 in the Erickson report); yet,
818   he does not elaborate on what those studies actually show. My examination of this literature, and
819   all the other literature that Erickson cites with regard to the coal market, reveals that, on balance,
820   the most reliable expert studies are not supportive of Erickson’s position. My review of
821   Erickson’s Expert Report reveals that, despite citing various bodies of literature in support of his
822   opinions, Erickson fails to acknowledge and rebut the areas of differences between the literature

                                                       27
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823   cited and his findings. In fact, the studies cited by Erickson offer a more nuanced view of the
824   impacts of coal leasing reforms than that asserted by Erickson in his Expert Report. Below, I
825   discuss my assessment of two studies cited by Erickson
826
827   The first study cited in ref 53 of Erickson is a detailed model analysis by Gerarden et al., 2016.
828   This study examines the coal leasing reforms that Erickson asserts should be adopted by the U.S.
829   The Gerarden study reveals interactions that explain why federal leasing reforms have indirect
830   and small impacts on emissions contributions.54 Notably, the study reveals that only about 40%
831   of US coal production comes from federal lands, and thus the impact of leasing reforms on total
832   production requires modeling of the entire coal market—federal and non-federal sources. The
833   study further cautions that any such modeling effort also must address the fact that higher prices
834   on federal lands likely will be offset by new coal supplies arising from non-federal lands.55 It is
835   instructive to note that, since 2008, U.S. coal shipments to the electric power sector (by far the
836   dominant user of coal in the country) have already declined 36%--an amount nearly equal to
837   Gerarden et al.’s estimate of the entire production from federal lands.56 Those declines are due
838   principally to factors unrelated to coal leasing reform—such as inexpensive natural gas and
839   larger mandates for (and greater economic competitiveness of) renewable energy57—and are
840   indicative of the large excess supply of coal that stands ready to fill the market even if changes to
841   federal coal leasing affected the supply and price of coal.
842
843   Other academic studies reveal complementary findings to those of Gerarden et al., 2016. For
844   example, a study by the consultancy ICF looks at a large number of scenarios that include many
845   interventions in the federal coal leasing program.58 This study has the advantage that the model
846   used allows calculation of the full array of energy sources used to generate electricity (known as
847   the “generation mix”), and thus can examine the impact of coal leasing reforms on consumption
848   of coal by the industry’s largest customer (power utilities) and total emissions. Erickson cites
849   this study to support the point that curtailment in federal coal leasing will lead to substitution of
850   coal by less emission-intensive renewables or natural gas (page 19). In fact, the ICF study is
851   much more nuanced and generally finds the opposite conclusion regarding the generation mix.
852   That study concludes that the leasing reforms have little impact because “…increased production
853   from non-federal coal offsets the reductions in federal coal, leaving national coal-fired

      54
        Todd Gerarden, W. Spencer Reeder, and James H. Stock, “Federal Coal Program Reform, the Clean Power Plan,
      and the Interaction of Upstream and Downstream Climate Policies,” NBER Working Paper No. 22214, issued April
      2016, available online at: http://www.nber.org/papers/w22214. An assumption in this analysis is that coal buyers
      face other limits on the cost-effectiveness of coal purchases when compared with other fuels, such as natural gas.
      Gerarden et al., 2016 model those limits using the CPP, but any other set of similar constraints would have similar
      effects and lead to the same conclusion; that is, coal leasing reforms have minimal impact on coal production,
      consumption and emissions. Despite current policy discussions about repeal of the CPP, large coal-fired electric
      utilities (the main buyers of coal in the United States) are making investment and operational plans as if the CPP or
      other incentives, such as state-level policies, would continue to exist. Thus the Gerarden et al analysis remains
      germane to the real world effects of a potential coal leasing reform.
      55
         Ibid.
      56
         US Energy Information Administration. US Coal Shipments Reach Their Lowest Level in Years. 2018.
      https://www.eia.gov/todayinenergy/detail.php?id=36812
      57
         K. Larsen, J. Larsen, W. Herndon, S. Mohan, and T. Houser, Taking Stock 2017: Adjusting Expectations for US GHG
      Emissions (Rhodium Group, 2017).
      58
         Vulcan/ICF, “Federal Coal Leasing Reform Options: Effects on CO2 Emissions and Energy Markets, Summary of
      Modeling Results, Final Report” (Vulcan, Inc. report with analysis supported by ICF International, January 26, 2016)

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854   generation unchanged.” Yet Erickson concludes his assessment of coal leasing reforms with the
855   statement that “any constraints on coal supply are expected to affect prices and lead to reduced
856   coal consumption for power generation [and lower CO2 emissions].” (page 19)
857
858   Erickson offers this conclusion despite the fact that, in the actual U.S. coal market, whether
859   “any” constraint on supply affects demand depends on the actions of substitute suppliers and on
860   factors that affect demand for coal. This is especially true in the electric power sector, where
861   most coal is consumed in the U.S., and where coal competes directly with rival sources of power,
862   such as renewables and natural gas . For example, Erickson cites a recent study by Houser et al.,
863   which explores whether coal can make a “comeback.” This study is instructive, because it looks
864   exactly at the kinds of policy scenarios that Erickson is considering. Specifically, Houser et al
865   assess the effects of coal leasing reforms on the competitiveness of coal, and then assess
866   outcomes assuming such policies were removed. Houser et al conclude that a shift in policy
867   “could stem the recent decline in U.S. coal consumption, but only if natural gas prices increase
868   going forward. If natural gas prices remain at or near current levels or renewable costs fall more
869   quickly than expected, U.S. coal consumption will continue its decline.”59 I believe that current
870   drilling behavior and technological advances in the gas market suggest that prices for natural gas
871   will remain low for the foreseeable future.
872
873   In my opinion, irrespective of federal fossil fuel leasing reforms or reversal of preferential tax-
874   based subsidies, it is probable that coal extraction will continue to decline over time, and
875   attendant emissions contributions also will decline. I base this opinion on the breadth of my
876   institutional expertise and assessment of the literature.
877
878   Finding #6. THE U.S. DID NOT FAIL TO TAKE AN AFFIRMATIVE ACTION TO
879   ELIMINATE FOSSIL FUELS AFTER THE ENERGY CRISES OF THE 1970S.
880
881   In his Expert Report, Stiglitz asserts that, since the watershed moments of the 1970s, the U.S. has
882   perpetuated a fossil energy system. Specifically, Stiglitz states:
883
884           “The fact that the U.S. national energy system is so predominately fossil fuel-
885           based is not an inevitable consequence of history. With the oil crises of the 1970s,
886           recognition of the risks of dependence on oil was developed (though these risks
887           were markedly different from those with which we are concerned today). Even
888           then, it was clear that there were viable alternatives, and with the appropriate
889           allocation of further resources to R&D, it is likely that these alternatives would
890           have been even more competitive. Thus, the current level of dependence of our
891           energy system on fossil fuels is a result of intentional actions taken by Defendants
892           over many years (including subsidization of fossil fuels and inactions in the form
893           of not providing adequate support for alternatives).” (page 12)
894
895   Stiglitz further states:

      59
        Trevor Houser, Jason Bordoff, and Peter Marsters, Center on Global Energy Policy, “Can Coal Make a
      Comeback?” April 2017, available online at:
      http://energypolicy.columbia.edu/sites/default/files/Center%20on%20Global%20Energy%20Policy%20Can%20Coa
      l%20Make%20a%20Comeback%20April%202017.pdf.

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896                “I would note that inactions in this sense are affirmative decisions by Defendants
897                not to act.” (page 12)
898
899   In my opinion, this assertion is not well-substantiated and is misleading. Stiglitz does not identify
900   plausible, real-world actions that the U.S. could have taken that would have led to appreciably
901   different outcomes. Contrary to what Stiglitz asserts, I believe that the dependence on fossil
902   fuels which existed prior to oil crises of the 1970s, and which exists today, is the “inevitable
903   consequence of history.” (page 12) Two facts support my opinion.
904
905   First, every major industrial economy faced similar challenges during the energy crises of the
906   1970s, and each of these economies emerged from the crises with energy systems dominated by
907   fossil fuels.60 Although several of these economies invested in the leading renewable power
908   system of the day—hydroelectric energy—each economy remained dependent on fossil fuels.
909   Two of these large industrial economies—France and Japan—invested in nuclear power. In the
910   case of France, which made the most decisive shift to nuclear power of any major economy, half
911   of its energy system relies on fossil fuels and 41% relies on nuclear power.61 In the case of
912   Japan, nuclear power accounted for 15% of the country’s energy system, and fossil fuels
913   accounted for 80%.62 Since 1998, the share of fossil fuels has increased. I cite to these examples
914   to illustrate that the U.S. was not alone in its response to the energy challenges arising from the
915   crises of 1970. Despite all this sustained attention the challenge of fossil fuel supply across the
916   global economy and despite substantial spending on alternative energy systems, fossil fuels
917   remained the dominant energy source for the global economy and all major industrial economies.
918   In my expert opinion, as a historian of energy technology, I believe that the global race to
919   dependence on fossil fuels, indeed, was inevitable. Further, my opinion is supported by
920   internationally recognized historians in energy technology.63
921
922   Second, Stiglitz’s assertion that dependence on fossil fuels was not an “inevitable consequence
923   of history” is based on the premise that viable alternatives to fossil fuels were available, but for a
924   failure of the Federal government to invest in associated research, development and
925   demonstration of new technologies (RD&D). Stiglitz misrepresents the magnitude and breadth



      60
        The one possible exception to this statement is the Soviet Union, a large industrial economy that, at the time
      embraced central planning and had significant fossil fuel production of its own. It did not experience the energy
      crises of the 1970s in the same way. Nonetheless, the Soviet Union also maintained a fossil fuel-dominated energy
      system.
      61
        These data computed from BP Statistical Review of World Energy, a widely used expert reference source,
      available online at: https://www.bp.com/en/global/corporate/energy-economics/statistical-review-of-world-
      energy.html. Data for France are for 2015, the peak year for nuclear since 1965 and thus the year when fossil fuels
      accounted for their smallest share of the French energy system. The French share of fossil energy declined below
      70% for the first time in 1985 as the country’s nuclear deployment program accelerated and has been below that
      level ever since.
      62
           Ibid.
      63
        .H. Ausubel, A. Grubel, and N. Nakicenovic, “Carbon Dioxide Emissions in a Methane Economy,” Climatic Change
      12:245 (1998). Vaclav Smil, Energy at the Crossroads: Global Perspectives and Uncertanties Cambridge: MIT Press,
      February 11, 2005.

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926   of the Federal government’s contributions to RD&D.64 I have examined the data, and contrary to
927   Stiglitz’s assertion, the U.S. has devoted a substantial and growing fraction of its RD&D budget
928   in the known alternatives to fossil fuels. Figure 5 shows public-sector energy-related spending
929   (in constant dollars) on R&D by source. The data supports my conclusion that the U.S.
930   substantially invested in zero-emission and low emissions technologies: nuclear power,
931   renewables, and energy efficiency. When viewed holistically, since 1980, a greater proportion of
932   public-sector spending has focused on non-fossil fuel related energy systems than on fossil fuels.




933
934   Figure 5: U.S. public sector energy-related spending on research, development and
935   demonstration (RD&D) since 1980. Source: IEA RD&D database—see the U.S. time series
936   data, total RD&D in million 2017USD at market exchange rates
937   (http://wds.iea.org/WDS/TableViewer/dimView.aspx?ReportId=1399)
938
939   A cornerstone of Stiglitz’s opinion is that renewable technologies—zero-emission alternatives—
940   were ripe for increased public-sector investment, and if only the U.S. had made those
941   investments, then renewables would have become a leading source of the U.S. energy supply
942   instead of fossil fuels. Stiglitz’s but-for argument is a form of revisionist history that is not
943   supported by the facts of the time.
944
945   As illustrated in Figure 6, during the energy crises of the 1970s and 1980s, renewable power was
946   a costly, niche option for energy supply. Specifically, Figure 6 charts time series data on the state
947   of performance for leading wind and solar technologies, as well as for gas turbines there were

      64
        Stiglitz comments mainly about “R&D,” as a general concept. I use the term RD&D, because for most energy
      technologies the last “D” is important—demonstration of new concepts at commercial scale is usually needed
      before the private sector will, on its own, invest in new technologies.

                                                           31
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948   also a relatively new technology at the time. Based on my assessment of this chart, I conclude
949   that advances in wind and solar technology have facilitated, and will continue to facilitate,
950   improvements in renewables in the U.S. energy system. However, at the time of the first energy
951   crises in the 1970s, these technologies were cost-prohibitive, and the scale of their performance
952   potential was relatively unknown.
953




954   Figure 6: Performance (measured in $ capital expenditure for kilowatt of energy output
955   potential) over time for leading photovoltaics (also known as solar cells), wind and gas turbine
956   technologies. The chart shows the cost of buying each technology, and how cost improved with
957   time and investment. The basis for my opinion is the snapshot around 19800s, when solar cells
958   approached $20,000 USD/kw, wind was about $3000 USD/kw, and still immature gas turbines
959   were more than $1000 USD/kw.65 For comparison, coal fired power plants were, at the time,
960   about $700 for coal-fired power plants.66 Put differently, the categories of renewable energy
961   technologies that today are most promising (solar and wind) were approximately 25x to 5x the
962   capital cost of coal plants. These novel power sources were also less reliable and, in the case of
963   gas, burned fuel that was more costly. Source: Arnulf Grubler, Nebojsa Nakicenovic and David

      65
         The study for figure 6 is but one, although a fairly comprehensive review of the literature. More recent
      retrospectives on renewable technology point to similar findings—for example, the Lantz et al retrospective on
      wind power, which puts the capital cost of wind projects around 1980 in the US at about $3300/kw (converted to
      1990$ with the GDP deflator). See E. Lantz, M. Hand, R. Wiser. The Past and Future Cost of Wind Energy. 2010.
      NREL Preprint
      66
         A major retrospective analysis of coal-fired power plants puts the capital cost at about $1000 USD/kw capacity in
      the 1970s. That figure is in 2006$, which converted to 1990$ using the GDP deflator (to make it comparable with
      figure 6) is about $700. For the retrospective see J. McNerney, J.D. Farmer, and J.E. Trancik, “Historical costs of
      coal-fired electrticity and implications for the future,” 39 Energy Policy 3042-3054 (2011).

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964   G. Victor, “Dynamics of energy technologies and global change,” Energy Policy 27(5):247-280,
965   1999.
966
967   Stiglitz fails to acknowledge that, in the late 1970s, there was little experience with renewables
968   technology, and what experience did exist suggests such technologies would be substantially
969   more costly than existing commercial rivals. Figure 6 suggests on the order of 10 times more
970   expensive. Further, during this era, the U.S. was already adopting a range of policies aimed at
971   supporting renewables and assisting other low-emission technologies to become cost
972   competitive. For example, in 1978, the U.S. reformed its energy policies to facilitate the entry of
973   new energy technologies, including their ability to connect to the U.S. power grid.67 In addition,
974   the U.S. was actively supporting nuclear power, efficiency, fuel cells and other major options.
975
976   Finding #7. ERRORS OF OMISSION: CLIMATE CHANGE REQUIRES
977   INTERNATIONAL COOPERATION, WHICH IS A MATTER FOR WELL-
978   PROSECUTED FOREIGN POLICY
979
980   In my expert opinion, effective solutions to mitigate the adverse impacts of climate change
981   necessitate engaged cooperation between the U.S. and its international partners. My review of
982   the expert reports submitted by Erickson and Stiglitz fail to adequately address the importance of
983   international cooperation in addressing climate change. The omission by Erickson and Stiglitz to
984   address the importance of international cooperation in addressing climate change leads to
985   misleading conclusions about the breadth and scope of the challenges associated with slowing
986   and reversing climate change, and the role of the U.S. in redressing these challenges. Below, I
987   discuss the basis for my opinion
988
989   First, technologies and fuels are traded globally. GHGs, once emitted, mix globally, as does the
990   heat created when those GHGs alter the climate. As such, the capacity of the U.S. to alter the
991   global trajectory of climate change through unilateral domestic action is limited. For example,
992   assume the U.S. government unilaterally ceased all emissions contributions from its own
993   footprint. The countervailing impact of its actions would be to reduce global emissions by less
994   than 1%, which is less than the annual change in global emissions between 2011 and 2012.68

      67
        See the Public Utility Regulatory Policies Act (PURPA), Pub. L. 95-617, 92 Stat. 3117, 16 U.S. Code 46 § 2601 et
      seq, enacted November 9, 1978.
      68
        The U.S. Department of Energy, Office of Energy Efficiency & Renewable Energy (EERE) publishes annual Federal
      Agency Greenhouse Gas Inventory data at
      http://ctsedwweb.ee.doe.gov/Annual/Report/ComprehensiveGreenhouseGasGHGInventoriesByAgencyAndFiscalY
      ear.aspx. These data indicate that 2012 greenhouse gas emissions across all Federal Agencies totaled 164.39
      million metric tons of CO2 equivalent. This number can be calculated by summing the subtotals for Scope 1
      (15.188 and 45.623 and 0.831 million metric tons), Scope 2 (30.4 and 0.89 and 1.912 million metric tons) , and
      Scope 3 (16.537 and 52.683 and 0.326 million metric tons) emissions across all three of the emissions categories
      provided. The EDGAR 4.2 FT2012 (all GHGs) dataset, referenced as the source for Figure 2 earlier in this Expert
      Report, does not provide data beyond 2012; its estimate for global GHG emissions as of 2012 is
      53,526.3028283888 million metric tons. Dividing approximately 161 million by approximately 53,526 million yields
      approximately 0.003, or 0.3% of global emissions. By comparison, the EDGAR data used in this Expert Report as a
      reference for Figure 2 indicate a year-over-year change in total global greenhouse gas emissions between 2011
      and 2012 of 1.39 percent, or approximately 52,791 million metric tons in 2011 to 53,562 million metric tons in
      2012.

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 995   Further, assume that the U.S. economy as a whole eliminated all of its territorial emissions
 996   contributions, which in 2012 accounted for 12% of global emissions. That 12% reduction would
 997   be offset to some degree by countervailing responses in other countries. Lower US demand for
 998   fuels, such as oil could lower the global price for oil and raise consumption and emissions in
 999   other countries. Higher costs of industrial production in the US due to higher energy costs could
1000   shift industrial activity to other countries, leading to expanded consumption of fossil energy and
1001   emissions abroad. Higher demand in the US for renewable energy technologies and other
1002   elements of a zero emission energy system could raise the price of those technologies globally,
1003   leading to reduced use abroad and higher emissions. Deriving a quantitative measure of such
1004   impacts requires understanding of how the global markets and other governments would respond
1005   to such actions. Stiglitz offers no such estimate for the size of these countervailing responses,
1006   except to say that “U.S. emissions will not be perfectly offset,” (page 41) a statement for which
1007   he cites a study that does not examine the extreme scenario he contemplates. Nor does Stiglitz
1008   offer any other citations to supporting literature or analysis; he also does not acknowledge that
1009   even a complete cessation of US emissions without any offsetting effect would alter global
1010   emissions only 12%.
1011
1012   Stiglitz suggests in his Expert Report that if the U.S. were to lead with extreme action, such as
1013   ceasing approval for any new fossil fuel infrastructure, that others nations would follow.69
1014   Stiglitz does not quantify the magnitude of this effect, nor does he offer guideposts to estimate
1015   the possible impacts. My review of academic studies that have examined the effects of
1016   leadership in areas where countries already are instituting reductions in emissions suggests that
1017   leadership, in fact, does not automatically generate followership.70 Leadership without
1018   cooperation and coordination can be counter productive, reducing the impact of unilateral actions
1019   on emissions. Failure to demonstrate cooperation in tandem with leadership can also undermine
1020   political support needed to sustain emissions controls.
1021
1022   Second, international cooperation requires international institutions for cooperation, including
1023   venues to encourage dialogue and treaties to foster engagement. The U.S. has been at the
1024   forefront of efforts to build those institutions. For example, the U.S. has been a seminal
1025   participant in the IPCC.71 The U.S. also was one of the key architects of the 1992 Framework
1026   Convention on Climate Change, and served as a leading force (along with China and France) in
1027   creating the 2015 Paris Agreement.72
1028


       69
         See page 41. Stiglitz asserts that, because the U.S. is a big emitter leadership though its actions “has a significant
       impact on these global outcomes”, referring to the outcomes of lower emissions globally, and the avoidance of an
       offsetting “leakage” of emissions to other jurisdictions.
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1029   In my opinion, mitigating climate change requires the committed engagement of the U.S. and its
1030   international partners. I believe that the measured progress realized to date reflects mainly the
1031   complexity and political challenges associated with crafting effective international cooperation,
1032   rather than neglect of the topic by the U.S. government. It is my expert opinion that the
1033   simplistic and narrowly-focused approaches posited by Stiglitz and Erickson with respect to U.S.
1034   engagement—which advocate unilateral action and gloss over the challenges inherent to
1035   international engagement and cooperation—fail to respect the global nature of the problem, the
1036   need for an integrated, portfolio-based solution and the essential role for diplomacy in the
1037   process of implementing that solution.
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1205   V.     COMPENSATION
1206
1207   My preparatory rate for expert services in this case is $325/hour. My Testimony or Deposition
1208   rate is $350/hour.
1209
1210   I have not testified as an expert at trial or by deposition within the preceding four (4) years.
1211




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1212   Appendix A: CV
1213
1214   DAVID G. VICTOR
1215
1216   A. PROFESSIONAL PREPARATION:
1217   Harvard University, History and Science, A.B., 1987
1218   Massachusetts Institute of Technology, Political Science, Ph.D., 1997
1219
1220   B. APPOINTMENTS:
1221   University of California, San Diego
1222   Professor, School of International Relations and Pacific Studies, 2009 to present
1223   Director, Laboratory on International Law and Regulation, 2009 to present
1224   Stanford University
1225   Professor, School of Law, 2006-2009
1226   Director, Program on Energy and Sustainable Development, 2001-2009
1227   Council on Foreign Relations, New York
1228   Robert W. Johnson, Jr., Senior Fellow for Science and Technology, 1998-2009
1229   International Institute for Applied Systems Analysis, Laxenburg, Austria
1230   Research Scholar, Project on "Environmentally Compatible Energy Strategies, 1997-1998
1231   Co-Leader, Project on "Implementation and Effectiveness of International Environmental
1232   Commitments (IEC)", 1993-1997
1233
1234   C. PRODUCTS
1235
1236   1. Five Most Relevant Products
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1248
1249   2. Other Significant Products
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1260
1261   D. SYNERGISTIC ACTIVITIES:
1262
1263   1. Selected awards
1264   Heinz I. Eulau Award, American Political Science Association, 2012.
1265   Convening Lead Author, Intergovernmental Panel on Climate Change, 2011-2014.
1266
1267   2. Selected Fellowships and Lectures
1268   Keeling Lecture, Scripps Institution of Oceanography, April 2014
1269   Harold Jacobson Lecture, Institute for Social Research, University of Michigan, October 2013.
1270   Banco Mundial lecture, Sao Paulo, Brazil. March 2013.
1271   Energy Forum Lecture, University of Texas, Austin. February 2012.
1272   Research Institute of Innovative Technology for Earth featured speaker, Tokyo, Japan. February
1273   2013.
1274   Electric Power Research Institute keynote speaker, Summer Seminar, August 2012.
1275   Cochrane Lecture, University of Minnesota. January 2010.
1276   Observer Research Foundation plenary lecture, September 2008.
1277
1278   3. Professional Activities
1279   American Association for the Advancement of Science
1280   American Political Science Association
1281   American Geophysical Union
1282   American Society of International Law
1283   International Studies Association
1284   International Institute for Strategic Studies
1285
1286   4. Editorial activities
1287   Editorial Boards: Climatic Change (Deputy Editor responsible for most submissions in the social
1288   sciences). Oxford University Press Encyclopedia of Global Change. Chinese Academy of Social
1289   Sciences, Sustainable Development Research. Nature Climate Change. Energy Research and
1290   Social Science.
1291   Reviewer (selected): American Journal of International Law. American Journal of Political
1292   Science. American Political Science Review. Climatic Change. Comparative Political Studies.
1293   Governance. International Studies Quarterly. Journal of Energy Policy. Journal of Politics.
1294   Nature. Review of International Studies. Regulation and Governance. Science. World Politics.
1295


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1296   E. COLLABORATORS AND OTHER AFFILIATIONS
1297
1298   1. Collaborators and coauthors in past 48 months
1299   Valentina Bosetti (FEEM), Emilie Hafner-Burton (UCSD), David Hults (Stanford Law School),
1300   Charles Kennel (SIO/UCSD), Robert Keohane (Princeton), Yonatan Lupu (GWU), Fang Rong
1301   (UCSD), Varun Rai (UT-Austin), V. (Ram) Ramanathan (SIO/UCSD), P.R. Shukla (IIMA), Barton
1302   Thompson (Stanford Law School), Mark Thurber (Stanford), Kassia Yanosek (McKinsey and
1303   Company).
1304
1305   2. Graduate advisors
1306   Eugene B. Skolnikoff (MIT), Abraham Chayes (Harvard), Kenneth Oye (MIT).
1307
1308   3. Ph.D. advising
1309   Jeremy Carl (Stanford), Danny Cullenward (Stanford), Yassir Eddebarr (UCSD), Stephie Fried
1310   (UCSD), Ryan Hanna (UCSD), Mark Hayes (Stanford), Lukas Nonnemacher (UCSD), Daniel
1311   Maliniak (UCSD), Peter Kannberg (Scripps Institution of Oceanography), Wei Peng (Princeton),
1312   Varun Rai (Stanford), Tamara Sheldon (UCSD), Yanyang Xu (UCSD).
1313




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